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15
                                    UNITED STATES DISTRICT COURT
16
                               NORTHERN DISTRICT OF CALIFORNIA
17
                                         SAN JOSE DIVISION
18

19
     FEDERAL TRADE COMMISSION,                          Case No. 5:17-cv-00220-LHK-NMC
20
                       Plaintiff,                       PLAINTIFF FEDERAL TRADE
21                                                      COMMISSION’S PRETRIAL
            v.                                          PROPOSED FINDINGS OF FACT AND
22                                                      CONCLUSIONS OF LAW
     QUALCOMM INCORPORATED, a Delaware
23   corporation,                                       PUBLIC REDACTED VERSION

24                     Defendant.                       Courtroom: 8, 4th Floor
                                                        Judge: Hon. Lucy H. Koh
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                 FTC’S PRETRIAL PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
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 2          Plaintiff Federal Trade Commission hereby submits its pretrial proposed findings
 3   of fact and conclusions of law.
 4

 5                        PRETRIAL PROPOSED FINDINGS OF FACT
 6   1   Background
 7          1.1     Qualcomm background
 8          1.      QUALCOMM Incorporated (“Qualcomm”) is headquartered in San
 9   Diego, California.
10          2.      Since at least 1989, Qualcomm has been, and is now, a corporation.
11          3.      Since at least 1989, Qualcomm has been, and is now, engaged in
12   interstate and international commerce.
13          4.      Qualcomm’s operating segment relating to its chip and software business
14   is called Qualcomm CDMA Technologies (“QCT”).
15          5.      Qualcomm’s operating segment relating to the licensing of its patents is
16   called Qualcomm Technology Licensing (“QTL”).
17          6.      In 2012, Qualcomm created Qualcomm Technologies, Inc. (“QTI”), a
18   wholly owned subsidiary of Qualcomm. QTI operates substantially all of Qualcomm’s
19   products and services businesses, including QCT, as well as substantially all of
20   Qualcomm’s engineering, research and development functions. Qualcomm continues to
21   operate QTL.
22          7.      Qualcomm CDMA Technologies Asia-Pacific Pte. Ltd. (“QCTAP”), a
23   Singapore company, is a wholly owned indirect subsidiary of Qualcomm.
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 1          1.2     Cellular networks
 2          8.      Cellular communications depend on widely distributed networks
 3   implementing standardized protocols.
 4          9.      Since the introduction of commercial cellular handsets, there have been
 5   four “generations” of cellular communication standards.
 6          10.     First-generation (“1G”) standards, introduced in the 1980s, support
 7   analog transmission of voice calls.
 8          11.     Second-generation (“2G”) standards, first deployed in the early 1990s,
 9   support digital transmission of voice calls.
10          12.     The leading 2G standards families are the Global System for Mobile
11   communications (“GSM”) and cdmaOne (“2G-CDMA,” also sometimes called
12   “TIA/EIA/IS-95” or “IS-95”).
13          13.     GSM uses time division multiple access (“TDMA”) technology.
14          14.     cdmaOne uses code division multiple access (“CDMA”) technology.
15          15.     Third-generation (“3G”) standards, first deployed in the late 1990s and
16   early 2000s, support higher data-transmission speeds.
17          16.     The leading 3G standards families are the Universal Mobile
18   Telecommunications System (“UMTS,” also commonly referred to as “WCDMA”) and
19   CDMA2000 (“3G-CDMA”).
20          17.     Wireless carriers that deployed 2G GSM networks transitioned to 3G
21   UMTS networks.
22          18.     Wireless carriers that deployed 2G-CDMA networks transitioned to 3G-
23   CDMA networks.
24          19.     Fourth-generation (“4G”) standards were first deployed in late 2009 and
25   the early 2010s.
26
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 1          20.      4G standards support substantially higher data-transmission speeds than
 2   3G standards.
 3          21.      The leading 4G standard today is Long-Term Evolution (“LTE”).
 4          22.      LTE uses orthogonal frequency division multiple access (“OFDMA”)
 5   technology for downlink transmissions and single-carrier frequency division multiple
 6   access (“SC-FDMA”) technology for uplink transmissions.
 7          23.      In the United States, AT&T and T-Mobile have operated UMTS
 8   (WCDMA) networks. Verizon and Sprint have operated CDMA2000 networks.
 9          24.      All four major U.S. carriers, including Verizon, AT&T, T-Mobile, and
10   Sprint, have deployed LTE as their 4G standard (which also encompasses the LTE
11   Advanced, or “LTE-A” standard).
12          25.      For carriers that have deployed LTE networks, 3G standards remain
13   important for purposes of backward compatibility.
14          1.3      Cellular handsets
15          26.      Consumer products that communicate with cellular networks (“cellular
16   handsets”) include feature phones; smartphones; and cellular-enabled tablets.
17          27.      While feature phones offer only voice and text-messaging capability,
18   smartphones, which emerged in the late 2000s, offer many other features, including
19   cameras, high-resolution touch-screen displays, powerful applications and graphics
20   processors, and enhanced memory and storage.
21          28.      Among cellular standards, LTE functionality is particularly important for
22   modern smartphones, as consumers increasingly use smartphones to transmit large
23   volumes of data. Cellular data traffic has grown exponentially in recent years, while the
24   volume of cellular voice traffic has remained nearly flat.
25

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 1          29.      Cellular handsets are designed, marketed, and sold by original equipment
 2   manufacturers (“OEMs”) such as Apple, Samsung, Huawei, Apple, Lenovo/Motorola
 3   Mobility, and LG.
 4          30.      Over time, competition among OEMs has developed across several
 5   handset tiers, including premium, high, mid, and low tiers.
 6          31.      Premium-tier handsets have become increasingly important for OEMs.
 7   Premium handsets tend to have higher prices than lower-tier handsets and are important
 8   for branding.
 9          1.4      Modem chips
10          32.      Modem chips are integrated circuits (sometimes referred to as “chips,”
11   “chipsets,” “modems,” “basebands,” or “baseband processors”) within cellular handsets.
12          33.      An integrated circuit that combines a modem chip together with an
13   applications processor on a single substrate is commonly referred to as an integrated
14   “System on a Chip” (“SoC”). The term “thin modem” is commonly used to refer to a
15   stand-alone modem chip that is not combined on a single substrate with an applications
16   processor.
17          34.      To communicate with a carrier’s network, a cellular handset must contain
18   a modem chip that complies with cellular communications standards that the network
19   supports.
20          35.      OEMs and their customers often require that cellular handsets and the
21   modem chips they contain comply with multiple standards.
22          36.      Cellular handsets that comply with a later-generation standards must
23   generally be “backward compatible” with prior generations of standards in order to
24   achieve full functionality and/or geographic coverage.
25

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 1          37.     To enter the supply of modem chips, a supplier must make substantial
 2   initial R&D investments, and it must continuously make further significant R&D
 3   investments in the development of new products to maintain its position.
 4          38.     As cellular technology and standards have evolved, communication
 5   speeds have increased, and other technological features (such as power usage and chip
 6   size) have improved.
 7          39.     Because of the rapid evolution of cellular technology, modem chip
 8   suppliers generally need to introduce a new product at regular and frequent intervals to
 9   remain competitive.
10          40.     Modem development takes two to three years, and a modem chip supplier
11   must therefore have multiple modems under development at a time. Modem chip
12   suppliers maintain long-term product roadmaps.
13          41.     When a modem chip supplier implements a new technology, there is an
14   extended process of testing and fixing bugs before the modem chip achieves a stable
15   state of “modem maturity.”
16          42.     Commercial engagement with OEMs aids modem chip suppliers in the
17   process of fixing bugs and reaching modem maturity.
18          43.     To justify the required continuing investment in R&D, modem chip
19   suppliers must make sales at sufficient scale and at sufficient margins to generate an
20   adequate return.
21          1.5     Standard-setting organizations
22          44.     Cellular communications standards are adopted by standard-setting
23   organizations (“SSOs”), sometimes referred to as standards-development organizations.
24          45.     The Telecommunications Industry Association (“TIA”) is the U.S. SSO
25   that adopted the 2G-CDMA family of standards.
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 1          46.     Third Generation Partnership Project (“3GPP”) and the Third Generation
 2   Partnership Project 2 (“3GPP2”) are global collaborative partnerships of SSOs and other
 3   industry participants that develop technical specifications for cellular standards.
 4          47.     3GPP developed the UMTS and LTE families of standards, and 3GPP2
 5   developed the 3G-CDMA family of standards.
 6          48.     Once 3GPP or 3GPP2 develops a standard, 3GPP’s or 3GPP2’s
 7   “organizational partners” will transpose that technical standard into their own standards.
 8          49.     The Alliance for Telecommunications Industry Solutions (“ATIS”) is the
 9   U.S. organizational partner of 3GPP, and TIA is the U.S. organizational partner of
10   3GPP2. The European Telecommunications Standards Institute (“ETSI”) is the
11   European organizational partner of 3GPP.
12          1.6     Standard essential patents and FRAND commitments
13          50.     A patent containing one or more claims that cover technology that is
14   essential to complying with a standard is known as a “standard essential patent” (“SEP”).

15          51.     A large number of companies involved in the cellular communications
16   industry, including Qualcomm, have made patented contributions to 2G, 3G, and 4G
17   cellular communication technologies.
18          52.     Before incorporating a technology into a standard, SSOs often require
19   patent holders to disclose their patents and commit to license their SEPs on fair,
20   reasonable, and non-discriminatory (“FRAND”) terms.
21          53.     The TIA, ATIS, and other relevant IPR policies require each party that
22   participates in the standard-setting process to make licenses to its SEPs available to
23   applicants on FRAND terms.
24          54.     Qualcomm owns patents that it has declared essential to cellular
25   standards, including 3G and 4G cellular standards.
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 1           55.     The TIA and ATIS IPR policies require Qualcomm to make licenses to
 2    its SEPs available to modem-chip suppliers on FRAND terms.
 3           56.     Industrywide, patent holders, including Qualcomm, have declared
 4    hundreds of thousands of patents as potentially essential to cellular standards, including
 5    3G and 4G cellular standards.
 6           57.     In a 2015 presentation, Qualcomm cited a number of studies of various
 7    companies’ SEP positions in 4G LTE. A majority of these studies concluded that a firm
 8    other than Qualcomm held the leading SEP position in 4G LTE.
 9           1.7     Qualcomm FRAND commitments
10           58.     Qualcomm has made commitments to SSOs that it will license its cellular
11    SEPs on FRAND terms.
12           59.     Qualcomm has committed to TIA to license relevant SEPs pursuant to the
13    current TIA IPR policy or to prior versions of the policy.
14           60.     Qualcomm’s commitments to TIA apply to each of its licenses in effect
15    from 2006 to 2016 involving patents declared essential to cellular standards (including
16    2G and 3G CDMA), to the extent such licenses are granted to licensees for the practice
17    of any or all portions of the relevant standard.
18           61.     Qualcomm has sent ATIS letters of assurance that Qualcomm will license
19    relevant SEPs pursuant to the ATIS IPR policy.
20           62.     Qualcomm’s commitments to ATIS apply to each of its licenses in effect
21    from 2006 to 2016 involving patents declared essential to cellular standards (including
22    UMTS and LTE), to the extent such licenses are granted to licensees for the purpose of
23    implementing the relevant standard.
24

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 1    2   Relevant Markets
 2            2.1     CDMA modem chips
 3                    2.1.1    Non-CDMA modem chips are not a reasonable substitute for
 4                             CDMA modem chips
 5                             2.1.1.1   Distinct uses of CDMA modem chips
 6            63.     Certain wireless carriers, including Verizon, Sprint, KDDI, and China
 7    Telecom, require that phones operating on their networks have CDMA capabilities.
 8            64.     CDMA capability is necessary for backward compatibility on the
 9    networks of wireless carriers that have added LTE networks to legacy CDMA networks.
10            65.     OEMs need CDMA-capable modem chips to meet the demands of
11    wireless carriers with CDMA networks, and do not regard abandoning CDMA networks
12    as a realistic option.
13            66.     OEMs do not consider CDMA modem chips and UMTS modem chips
14    without CDMA capability to be substitutes when selecting chips to incorporate into their
15    handsets.
16                             2.1.1.2   Industry recognition of a CDMA modem chip
17                                       market
18            67.     Industry participants have recognized that the competitive conditions in
19    the sale of CDMA modem chips differ from the competitive conditions in the sale of
20    non-CDMA chips.
21            68.     Qualcomm’s business planning documents separately track its shares of
22    CDMA and non-CDMA modem chip sales.
23            69.     QCT Strategic Plans have segmented the addressable market by standard,
24    including a market segment for CDMA modem chips and a market segment for UMTS
25    modem chips.
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 1                   2.1.2   Hypothetical monopolist test: CDMA
 2           70.     The hypothetical monopolist test is a standard tool used by economists to
 3    define relevant markets for antitrust purposes. The test has been in use for 40 years and
 4    has been adopted by both the Department of Justice and the Federal Trade Commission.
 5           71.     The test begins with a narrow set of products (the candidate market) and
 6    asks whether a hypothetical monopolist selling all of the products in the candidate
 7    market could impose a small but significant non-transitory increase in price (“SSNIP,”
 8    taken to be 5% or more) without losing too many sales to make the price increase
 9    unprofitable. If the answer is yes, then the market is correctly defined. If not, the
10    candidate market is too narrow because the relevant market includes other products.
11           72.     The starting place for defining a relevant market is a reference product—
12    a product or a set of products that is offered by the firm that engaged in the
13    anticompetitive conduct. The selection of the candidate market does not, however,
14    change the test or pre-determine the outcome.
15           73.     Applying the hypothetical monopolist test, there is a relevant antitrust
16    product market consisting of modem chips with CDMA 2G or 3G capability.
17           74.     The prices of UMTS modem chips (without CDMA capability) provide
18    an appropriate benchmark against which to evaluate the prices of CDMA modem chips.
19           75.     Qualcomm has similar manufacturing processes and costs for CDMA and
20    UMTS modem chips. Qualcomm has designed non-CDMA multimode chips by
21    disabling the CDMA functionality on a UMTS/LTE multimode chip.
22           76.     Both types of chips are sold to the same customers using similar
23    procurement processes, and both types of chips are used as modems in cellular
24    handsets..
25

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 1           77.     The level of competition in the sale of CDMA modem chips has been
 2    different from the level of competition in the sale of UMTS modem chips, particularly
 3    from 2008 through 2014.
 4           78.     Qualcomm has been a leading supplier of modem chips with UMTS
 5    functionality, but other modem chip suppliers also made substantial sales between 2008
 6    and 2014.
 7           79.     By contrast, from at least 2008 through 2014, the only supplier of CDMA
 8    modem chips other than Qualcomm was VIA Telecom.
 9           80.     VIA Telecom’s CDMA modem chips were imperfect substitutes for
10    Qualcomm’s CDMA modem chips. VIA Telecom did not produce CDMA modem chips
11    also compatible with 3G UMTS, 4G LTE, or any combination of these non-CDMA
12    standards. VIA Telecom also trailed Qualcomm in CDMA capabilities, developing
13    advanced CDMA features years after Qualcomm introduced modem chips with these
14    features.
15           81.     Qualcomm executives recognize that there is greater competition for the
16    sale of UMTS modem chips than for the sale of CDMA modem chips.
17           82.     Qualcomm’s CDMA modem chips have higher profitability and higher
18    prices compared to non-CDMA modem chips, due to comparatively less competition in
19    the sale of CDMA modem chips.
20           83.     Despite similarities in manufacturing processes and costs, Qualcomm’s
21    price for CDMA modem chips has been significantly above the benchmark price of
22    modem chips without CDMA capability.
23           84.     Specifically, Qualcomm’s price for CDMA modem chips has been at
24    least 5% above the benchmark price of UMTS modem chips.
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 1           85.     That Qualcomm charges prices for CDMA modem chips that are more
 2    than 5% above the competitive benchmark established by UMTS modem chip prices
 3    (for reasons unrelated to cost differences) demonstrates that a hypothetical monopolist
 4    of CDMA modem chips would be able to impose a price increase of at least 5% above
 5    competitive levels.
 6           86.     Qualcomm projections related to MediaTek’s recent expansion into
 7    CDMA modem chips further confirm that there is a relevant antitrust market for the sale
 8    of CDMA modem chips.
 9           87.     MediaTek began selling commercial quantities of CDMA modem chips
10    in 2015.
11           88.     When MediaTek began offering CDMA modem chips, Qualcomm
12    projected that it would reduce the CDMA price premium it charges to customers in
13    handset tiers most susceptible to MediaTek entry, principally the tiers below premium
14    handsets and for sales in China.
15           89.     In a May 2016 internal presentation, for example, Qualcomm proposed
16    significantly to reduce the premium it charged for CDMA-capable modem chips to
17    Chinese OEMs where MediaTek had had its earliest CDMA design wins. The same
18    presentation proposed to hold Qualcomm’s CDMA premium at accounts with a weaker
19    MediaTek presence.
20           2.2     Premium LTE modem chips
21                   2.2.1   No other chips are a reasonable substitute for premium LTE
22                           modem chips.
23                           2.2.1.1     Distinct uses of premium LTE modem chips
24           90.     Following LTE’s commercial launch, wireless carriers have launched
25    hundreds of LTE networks around the globe.
26
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 1           91.     3GPP Release 8, the first commercial release of the LTE standard,
 2    defined different handset or “user equipment” categories. Subsequent releases have
 3    defined additional user equipment categories. Handsets conforming to higher user
 4    equipment categories are capable of supporting higher peak downlink and uplink data
 5    rates and incorporate premium differentiating features, including advanced carrier
 6    aggregation and multiple in-multiple out.
 7           92.     When selecting modem chips for premium-tier handsets, OEMs want
 8    modem chips that support premium features corresponding to higher LTE user-
 9    equipment categories. Accordingly, Qualcomm and other modem-chip suppliers design
10    premium LTE modem chips to offer functionality consistent with the expected
11    functionality of a premium-tier handset that would be sold at the time that the modem
12    chip would be used.
13           93.     These premium LTE modem chips form an industry-recognized segment
14    of the LTE modem chip business. The premium LTE modem chip market corresponds
15    approximately to the LTE modem chips in premium handsets.
16           94.     OEMs do not regard non-premium LTE modem chips as good substitutes
17    for premium LTE modem chips at any given point in time.
18           95.     OEMs require advanced features in the LTE modem chips that they use
19    in their premium LTE handsets. A premium-tier handset that had a modem chip that
20    lacked these features would not be a commercially viable product. Although modem
21    chips with these features are significantly more expensive than modem chips without
22    these features, OEMs producing premium handsets do not regard substitution to less
23    capable modem chips as a realistic option.
24           96.     Additionally, carriers sometimes explicitly or effectively require OEMs
25    to offer handsets that support sufficiently advanced LTE standards and features.
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 1                           2.2.1.2    Industry recognition of a premium LTE modem
 2                                      chip market
 3           97.     Industry participants have recognized that the competitive conditions in
 4    the sale of premium LTE modem chips differ from the competitive conditions in the sale
 5    of non-premium LTE chips.
 6           98.     There are different competitors, different margins, and different costs
 7    associated with premium LTE modem chips compared to lower-tier LTE modem chips.
 8           99.     Premium LTE modem chips are sold at higher prices than non-premium
 9    LTE modem chips.
10           100.    Qualcomm internally recognizes a premium tier for modem chips, and
11    Qualcomm uses tiers to track margins, competition, and R&D allocations.
12                   a.      Qualcomm’s product roadmaps segment its modem chips into
13           distinct tiers, including premium.
14                   b.      Qualcomm’s strategic plans segment its modem chips into distinct
15           tiers, including premium. These documents have identified separate markets for
16           premium tier handsets and modem chips, and noted that Qualcomm faced
17           different competitors and different differentiating factors when selling in
18           premium tier versus other tiers.
19                   c.      Qualcomm executives recognize that there are distinct modem
20           chip tiers, including premium, and that competitive conditions differ in the
21           premium tier.
22                   d.      Qualcomm has separate business units for premium-tier and
23           lower-tier modem chips.
24                   e.      Qualcomm executives recognize that Qualcomm’s Snapdragon
25           800 series is an example of a premium-tier LTE modem chip.
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 1           101.    Qualcomm separately tracks its share of premium tier SoCs, which it
 2    defines as those SoCs for use in premium-tier handsets.
 3           102.    Before 2013, Qualcomm defined premium handsets as those with a retail
 4    price of more than $300.
 5           103.    Since 2013, Qualcomm has defined premium handsets as those with a
 6    retail price of more than $400.
 7           104.    OEMs and Qualcomm’s competitors likewise segment LTE modem chips
 8    into categories, including premium-tier LTE modem chips.
 9                   2.2.2   Hypothetical monopolist test: premium LTE
10           105.    Applying the hypothetical monopolist test, a relevant antitrust product
11    market exists for premium LTE modem chips, i.e., chips with LTE capability used in
12    premium-tier handsets, those handsets with a retail price of more than $300 before 2013
13    and more than $400 since 2013.
14           106.    The candidate premium LTE modem chip market has become somewhat
15    more competitive since 2015 as Samsung, Intel, and MediaTek increased their volumes
16    of premium LTE modem chips. Qualcomm remains, however, the leading supplier of
17    premium LTE modem chips.
18           107.    A decrease in price of at least 5% following entry indicates that a
19    hypothetical monopolist of premium LTE modem chips would profitably impose a price
20    increase of at least 5% above the levels that would result from competition among
21    suppliers of premium LTE modem chips. This implies that premium LTE modem chips
22    constitute a relevant antitrust market under the hypothetical monopolist test.
23           108.    Here, Qualcomm forecasts that it would reduce the prices of premium
24    LTE modem chips by at least 5% in response to premium LTE modem chip offerings
25    from Intel, Samsung, and MediaTek.
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 1             109.    For example, a June 2016 Qualcomm strategy document projects
 2    downward pricing pressure in fiscal year 2017 on two premium LTE modem chips in
 3    response to competition from MediaTek and Samsung, with projected decreases
 4    between                  .
 5             110.    Such evidence indicates that a hypothetical monopolist of premium LTE
 6    modem chips would profitably impose a SSNIP above competitive price levels.
 7             2.3     Geographic market
 8             111.    The relevant geographic market for CDMA modem chips and premium
 9    LTE modem chips is worldwide.
10             112.    Modem chips are manufactured at facilities around the world.
11             113.    Transportation costs are small relative to the price of a modem chip.
12             114.    Many OEMs sell their handsets containing modem chips throughout the
13    world.
14    3   Market and Monopoly Power
15             3.1     Qualcomm market and monopoly power in CDMA modem chips
16             115.    Qualcomm possessed monopoly power in the market for CDMA modem
17    chips from 2006 through 2016.
18             116.    Qualcomm possessed market power in the market for CDMA modem
19    chips from 2006 through 2016.
20                     3.1.1   OEMs have lacked good alternatives to Qualcomm for CDMA
21                             modem chips
22             117.    OEMs have lacked good alternatives to Qualcomm’s CDMA modem
23    chips.
24             118.    OEMs have not regarded other suppliers’ CDMA modem chips as good
25    alternatives to Qualcomm’s CDMA modem chips.
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 1           119.    In 2008, Qualcomm recognized that it was Apple’s only viable option for
 2    CDMA-capable modem chips.
 3           120.    In 2009, Qualcomm concluded that it was unlikely Apple would source
 4    CDMA chips from any manufacturer other than Qualcomm, given the lack of existing
 5    competition and Apple’s time constraints.
 6           121.    For its launch in 2011 of the first CDMA iPhone, Apple believed it had
 7    no choice but to use Qualcomm CDMA modem chips, as Apple considered Qualcomm
 8    to be the only viable supplier of CDMA modem chips for the iPhone.
 9           122.    In June 2014, Qualcomm anticipated that even if Apple switched to
10    another modem-chip supplier for non-CDMA-capable devices, Apple would continue to
11    source modem chips from Qualcomm for Apple’s CDMA-capable handsets.
12           123.    In 2009, 99% of Samsung’s CDMA modem chips were supplied by
13    Qualcomm. VIA supplied the remaining 1% of CDMA modem chips.
14           124.    BlackBerry purchased CDMA modem chips exclusively from Qualcomm
15    during the time it manufactured cellular handsets, and did not believe it had any viable
16    alternatives to Qualcomm for CDMA modem chip supply.
17           125.    In 2013, Huawei would not have been able to find another supplier of
18    CDMA chips had Qualcomm terminated supply.
19           126.    From at least 2008 through 2014, the only supplier of CDMA modem
20    chips other than Qualcomm was VIA Telecom.
21           127.    OEMs did not regard VIA Telecom’s CDMA modem chips as good
22    alternatives for Qualcomm’s CDMA modem chips. VIA Telecom did not produce
23    CDMA modem chips that were also compatible with 3G UMTS, 4G LTE, or any
24    combination of these non-CDMA standards. VIA Telecom also trailed Qualcomm in
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 1    CDMA capabilities, developing advanced CDMA features years after Qualcomm
 2    introduced modem chips with these features.
 3                   3.1.2   CDMA modem chip market share
 4           128.     Based on relevant data, Qualcomm had above an 80% share of the
 5    market for CDMA modem chips in each year from 2006 through 2015 and a 74% share
 6    in 2016 on a revenue basis. For calendar years 2006 through 2016, Qualcomm estimated
 7    that it had a greater than 88% CDMA modem chip market share. For its fiscal year 2018,
 8    QCT forecast it would have a 79% CDMA market share.
 9                   3.1.3   CDMA modem chip barriers to entry
10           129.    There are substantial barriers to entry into the CDMA modem chip
11    market, including the need to make substantial investment in research and development
12    and the need to develop and maintain relationships with key OEM customers, including
13    through product testing and validation.
14           130.    Unlike 3GPP standards (UMTS and LTE), CDMA specifications are
15    poorly documented.
16           131.    The full value of CDMA is realized only with complementary multimode
17    technology and backward compatibility. Developing these technologies is expensive and
18    time consuming.
19           132.    The Qualcomm practices at issue in this case have created an additional
20    barrier to entry to the market for CDMA modem chips.
21           3.2     Qualcomm market and monopoly power in Premium LTE modem
22                   chips
23           133.    Qualcomm possessed monopoly power in the market for premium LTE
24    modem chips each year from 2011 to 2016.
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 1             134.   Qualcomm possessed market power in the market for premium LTE
 2    modem chips each year from 2011 to 2016.
 3                    3.2.1       Few companies make premium LTE chips
 4             135.   Qualcomm enjoyed a significant first-mover advantage in the sale of LTE
 5    chips.
 6             136.   Qualcomm was the sole supplier of multimode premium LTE modem
 7    chips that included both UMTS and CDMA capability for most of the period from 2011
 8    through 2016.
 9             137.   OEMs have lacked good alternatives to Qualcomm’s premium LTE
10    modem chips.
11             138.   Qualcomm internal documents are consistent with OEMs’ views on the
12    lack of good alternatives to Qualcomm’s premium LTE modem chips.
13             139.   Samsung and Huawei have recently self-supplied some premium LTE
14    modem chips through corporate affiliates, Samsung LSI and HiSilicon, respectively.
15    These firms have imposed limited competitive constraints on Qualcomm outside of
16    Samsung and Huawei, respectively.
17             140.   MediaTek has achieved only limited success in the market for premium
18    LTE modem chips,
19                            .
20             141.   Aside from Apple, most OEMs prefer to source integrated SoCs, rather
21    than thin modems.
22             142.   Because Intel offers thin modems, rather than SoCs, its premium LTE
23    modem chips offer a limited competitive constraint at OEMs other than Apple.
24             143.   Before 2018, OEMs viewed Qualcomm as the only viable merchant
25    supplier for premium LTE modem chips with CDMA capability.
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 1              144.   The recent ability of Intel, Samsung, and HiSilicon to produce premium
 2    LTE modem chips has not eliminated Qualcomm’s market power in premium LTE
 3    modem chips. Qualcomm has continued to possess substantial market power in the
 4    market for premium LTE modem chips.
 5                     3.2.2   Premium LTE modem chip market share
 6              145.   Qualcomm had above an 80% share of the premium LTE market each
 7    year from 2011 through 2015 and a 63% share in 2016 on a revenue basis.
 8              146.   Qualcomm’s internal documents also report high premium LTE market
 9    shares.
10              147.   For example, for Qualcomm’s fiscal year 2015, Qualcomm estimated that
11    it had a greater than 80% share of modem chips for premium tier handsets.
12                     3.2.3   Premium LTE modem chip barriers to entry
13              148.   There are a number of substantial barriers to entry into the market for
14    premium LTE modem chips.
15              149.   An entrant into the market for premium LTE modem chips would need to
16    make a substantial investment in research and development.
17              150.   An entrant into the market for premium LTE modem chips would need to
18    work with OEMs to test and certify its products for incorporation into handsets, and to
19    work with wireless carriers to test its products with infrastructure equipment.
20              151.   An entrant into the market for premium LTE modem chips would need
21    several years, in addition to large R&D expenditures, to develop viable products.
22              152.   Qualcomm has discouraged entry into the market for premium LTE
23    modem chips through the conduct at issue in this case.
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 1             153.    An entrant into the market for premium LTE modem chips would be
 2    required to make significantly greater investments to compete effectively in premium
 3    LTE modem chips than to compete effectively in lower-tier modem chips.
 4    4   Qualcomm’s No License-No Chips Policy
 5             4.1     Qualcomm will not sell modem chips unless the purchaser signs a
 6                     separate license agreement
 7             154.    Qualcomm does not sell modem chips to OEMs that are not licensed to
 8    Qualcomm’s relevant cellular SEPs.
 9             155.    Qualcomm’s “no license-no chips” policy is effectuated through
10    Qualcomm supply agreements and license agreements with OEMs, and supported by
11    incentive funds and similar agreements Qualcomm has entered with OEMs.
12             156.    QCT routinely refers prospective modem chip customers to QTL to
13    obtain a license before engaging with the customer for the sale and support of modem
14    chips.
15             157.    Qualcomm’s patent license agreements, which Qualcomm requires an
16    OEM to sign before Qualcomm will supply modem chips, require OEMs to pay royalties
17    to Qualcomm on the sale of handsets containing modem chips supplied by Qualcomm’s
18    competitors.
19             158.    Qualcomm’s policy of not selling modem chips to unlicensed OEMs is
20    clearly embodied in Qualcomm’s components supply agreements (“CSAs”) for modem
21    chips.
22             159.    Qualcomm’s CSAs with OEMs specify that Qualcomm may terminate
23    the CSA if an OEM is in default under its license agreement.
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 1           160.    Qualcomm’s CSAs further specify that they convey no intellectual
 2    property rights, and prohibit OEMs from using Qualcomm modem chips in unlicensed
 3    handsets.
 4           161.    Qualcomm’s policy of not selling modem chips to unlicensed OEMs is
 5    well known by OEMs and other industry participants.
 6           162.    Qualcomm has at times taken the position that the restrictions in
 7    Qualcomm’s CSAs for modem chips implementing the no license-no chips policy are
 8    not technology-specific, meaning that, if an OEM were to fail to maintain a license or
 9    pay royalties on handsets implementing a given cellular standard, Qualcomm would be
10    entitled to stop supplying all types of modem chips—including modem chips that do not
11    implement that particular standard.
12           163.    Qualcomm’s licensing business model is unique among suppliers of
13    components for cellular handsets.
14           164.    Component suppliers other than Qualcomm do not require purchasers to
15    separately take a license applying to handsets using competitors’ products before they
16    will sell commercial quantities of components.
17           165.    Qualcomm’s licensing business model for modem chips is also unique
18    within Qualcomm. Qualcomm supplies other chips (such as Wi-Fi chips) without
19    requiring a separate license; it sells those chips, with respect to which it does not have
20    substantial market power, exhaustively.
21           4.2     Qualcomm routinely invokes its no license-no chips policy in
22                   licensing negotiations with OEMs
23           166.    Qualcomm routinely communicates to OEMs during negotiations of
24    license agreements, and over the course of the licensing and chip supply relationship,
25    that the OEM must have a license from Qualcomm to purchase Qualcomm modem chips
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 1    and/or receive related technical support, and that failure to maintain licensed status
 2    could result in interruption of modem-chip supply.
 3           167.    Qualcomm’s business development department typically told prospective
 4    licensees that they could not purchase Qualcomm modem chips, or receive related
 5    support, until the parties entered a license agreement on Qualcomm’s terms.
 6           168.    Qualcomm communicated to Blackberry, Lenovo, Huawei, Nokia,
 7    Samsung, Sony, ZTE and other OEMs during license negotiations that they could not
 8    purchase Qualcomm modem chips if they became unlicensed.
 9           169.    Qualcomm executives including Steve Altman, Derek Aberle, Marvin
10    Blecker, Eric Reifschneider, Jeff Altman, Cristiano Amon, Irwin Jacobs, and Paul
11    Jacobs have communicated to OEMs that they had to take a license to purchase
12    Qualcomm’s modem chips.
13           170.    Qualcomm has also threatened to restrict an OEM’s ability to purchase
14    chipsets from its competitors, including MediaTek, if the OEM did not sign a license
15    with Qualcomm.
16           4.3     OEMs are vulnerable to coercion through Qualcomm’s no license-no
17                   chips policy
18           171.    Once an OEM selects a Qualcomm modem chip for its handset, the OEM
19    is effectively “locked in” to that modem chip for that handset, and remains so over the
20    commercial life of the handset.
21           172.    The design cycle for a handset is long: modem chips are often selected
22    for handsets well over a year before an OEM ships commercial quantities of the handset.
23           173.    In order to design handsets, OEMs need information about Qualcomm
24    modem chips, and other technical support, that Qualcomm generally provides only if an
25    OEM is licensed.
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 1           174.   Contract manufacturers (“CMs”), including Hon Hai Precision Industry
 2    Co. Ltd. and FIH Mobile Ltd. (collectively, “Foxconn”), Pegatron Corporation
 3    (“Pegatron”), Wistron Corporation (“Wistron”), and Compal Electronics, Inc.
 4    (“Compal”), which manufacture cellular handsets for a separate brand (like Apple),
 5    require licenses with Qualcomm in order to be able to source Qualcomm modem chips
 6    requested by the CMs’ customers.
 7           175.   OEMs have been dependent on Qualcomm for supply of CDMA modem
 8    chips and premium LTE modem chips at the time they signed license agreements with
 9    Qualcomm, because they lacked viable alternatives to Qualcomm.
10                  a.      Huawei depended on Qualcomm’s CDMA modem chips when it
11           signed its 2013 license extension with Qualcomm.
12                  b.      Despite efforts to the contrary, to date Lenovo subsidiary
13           Motorola has been unable to find a viable alternative to Qualcomm for premium
14           LTE modem chips.
15                  c.      Lenovo’s VP of Licensing Ira Blumberg understood that, at the
16           time he was negotiating a 2013 Qualcomm license renewal, Lenovo depended on
17           Qualcomm modem chips for premium handsets.
18                  d.      Qualcomm understood that Sony Mobile depended on Qualcomm
19           chips at the time Sony Mobile was negotiating a patent license with Qualcomm
20           in 2012.
21                  e.      Samsung depended on Qualcomm’s CDMA modem chips at the
22           time of the parties’ 2008-2009 license negotiations.
23                  f.      BlackBerry depended on Qualcomm’s CDMA modem chips at
24           the time of the parties’ 2009-2010 license negotiations.
25

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 1                     g.     In 2009, when Apple entered a Strategic Terms Agreement with
 2           Qualcomm, under which Apple’s CMs were required to be Qualcomm licensees,
 3           Apple viewed Qualcomm as the only viable supplier of CDMA modem chips.
 4                     h.     In 2011, at the time Apple entered a Transition Agreement with
 5           Qualcomm, Apple viewed Qualcomm as the only viable supplier of CDMA
 6           modem chips and was dependent upon Qualcomm for supply of CDMA modem
 7           chips.
 8                     i.     In 2013, at the time Apple entered an amended Transition
 9           Agreement and a Business Cooperation and Patent Agreement with Qualcomm,
10           Apple was dependent upon Qualcomm for supply of CDMA modem chips and
11           premium LTE modem chips for certain of its upcoming iPhone models.
12           176.      OEMs believed that if they lost access to Qualcomm modem chips they
13    would be unable to sell viable CDMA or premium LTE handsets, and would lose out on
14    the associated revenue and be unable to recoup sunk costs.
15           177.      OEMs recognize that Qualcomm’s modem chip supply and associated
16    engineering support provide Qualcomm with leverage that Qualcomm would not
17    otherwise have in licensing negotiations.
18           178.      Qualcomm recognizes its customers’ vulnerability to its “no license-no
19    chips” policy.
20           179.      Through agreements with other modem chip suppliers that required those
21    suppliers to restrict sales to Qualcomm licensees, Qualcomm extended the no license-no
22    chips policy to licensees’ purchases of non-Qualcomm modem chips and has restricted
23    the ability of competitors to sell modem chips to unlicensed OEMs.
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 1           180.    Qualcomm has repeatedly used its track record of securing licenses on its
 2    preferred royalty and other terms to establish benchmarks that it can exploit in future
 3    license negotiations, including with other prospective licensees.
 4           4.4     Qualcomm’s no license-no chips policy insulates it from the ordinary
 5                   constraints of FRAND commitments, including the threat of
 6                   litigation
 7           181.    In any license negotiation, the parties negotiate based on how the
 8    prospective license terms compare to their alternatives.
 9           182.    Ordinarily, if a patent holder and a potential licensee can neither agree on
10    license terms nor agree to submit those terms to binding arbitration, the patent holder
11    initiates a patent infringement suit in which a court resolves issues of patent validity and
12    infringement and, if the court deems a patent valid and infringed, determines and awards
13    reasonable royalties. In a patent suit involving SEPs, both parties may address
14    arguments to the court on how the SEP holder’s FRAND commitments should affect the
15    court’s determination of reasonable royalties.
16           183.    A potential SEP licensee may also initiate a declaratory judgment action
17    addressing the same issues, including whether a SEP holder’s license offer is consistent
18    with its FRAND obligations.
19           184.    Qualcomm and other industry participants understand that the FRAND
20    licensing commitment operates as at least a partial constraint on royalties by limiting a
21    patent holder’s power to withhold technology if a licensee does not agree on terms.
22           185.    OEMs that regard Qualcomm’s royalties as unreasonable would
23    ordinarily have the ability and incentive to challenge Qualcomm’s royalty demands in
24    court without the threat of interrupting their business.
25

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 1            186.   Instead of the typical situation where a licensee’s alternatives to
 2    accepting a proposed license are accepting the risk of patent infringement litigation or
 3    filing a declaratory judgment action, Qualcomm’s no license-no chips policy has added
 4    the loss of Qualcomm modem chips—and therefore interruption of licensees’
 5    businesses—as a consequence.
 6            187.   OEMs cannot negotiate with Qualcomm against the backdrop of patent
 7    infringement litigation because Qualcomm will not sell OEMs modem chips without a
 8    license.
 9            188.   OEMs cannot negotiate with Qualcomm against the backdrop of a
10    declaratory judgment action against Qualcomm, including as to enforcement of FRAND
11    contract rights, because they fear losing access to Qualcomm’s modem chips.
12            189.   OEMs regard licensing negotiations with Qualcomm as atypical
13    compared to other SEP licensors like Ericsson and Nokia; there is a meaningful
14    negotiation with other licensors and not with Qualcomm. With licensors other than
15    Qualcomm, there is a give-and-take on key terms like royalties.
16            190.   Other licensors in the cellular industry, apart from Qualcomm, take into
17    account the value of cross-licenses received when setting royalties for their cellular
18    SEPs.
19            191.   Typically, when one company attempts to collect royalties from another,
20    the prospective licensee will seek justification for the royalties requested in the form of
21    information establishing infringement, validity, and value of the asserted patents. It is
22    standard licensing practice to engage in such a process through the exchange and review
23    of claim charts for all—or for the strongest—patents at issue.
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 1            192.    Qualcomm typically will not negotiate running royalty rates with licensee
 2    but demands the same high rate from every licensee, despite receiving, from some
 3    licensees, valuable patent rights for its modem chip business.
 4            193.    Most other major cellular SEP holders have been required to litigate the
 5    value of their patents when license negotiations fail.
 6            4.5     Qualcomm’s no license-no chips policy results in elevated royalties
 7            194.    OEMs have long viewed Qualcomm’s royalties as excessive and non-
 8    FRAND.
 9            195.    OEMs have long viewed Qualcomm’s insistence on uncompensated
10    grantbacks of their patents for Qualcomm’s modem chips as additional compensation
11    that they must pay Qualcomm for a license.
12            196.    Qualcomm did not reduce its royalties over time despite changes in its
13    patent portfolio, changes in the features of handsets and the relative importance of a
14    cellular connection to the handset, and changes in the treatment of SEPs by courts over
15    time.
16            197.    Internal Qualcomm analyses establish that Qualcomm believed that its no
17    license-no chips policy had the effect of increasing Qualcomm’s royalties.
18            198.    Qualcomm strategic planning documents reflect Qualcomm’s assessment
19    that its no license-no chips policy and related conduct inflates its royalties.
20            199.    Qualcomm has periodically evaluated whether to split QCT from QTL. In
21    the two most recent evaluations—Project Berlin and Project Phoenix—Qualcomm’s
22    assessment of the impact of QCT’s modem chips on QTL’s royalty revenue factored
23    into the decision to keep the company intact.
24            200.    In 2007 and 2008, Qualcomm analyzed whether to split QCT from QTL,
25    an exercise that it named “Project Berlin.”
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 1           201.     Qualcomm determined not to separate the company at that time due, in
 2    part, to the higher royalties that QTL would receive due to its CDMA modem chip
 3    market power.
 4           202.     In 2015, Qualcomm again considered separating its chip and licensing
 5    businesses, which it called “Project Phoenix.”
 6           203.     Qualcomm again decided against separating its chip and licensing
 7    businesses. During the process of coming to this decision, Qualcomm determined that as
 8    a separate company the licensing division would not be able to leverage market power in
 9    modem chips to maintain the level of its royalties.
10                    4.5.1   OEM and rival testimony and documents
11           204.     OEM and rival testimony and analyses establish that Qualcomm’s no
12    license-no chips policy inflated Qualcomm’s royalties.
13           205.     OEMs do not regard Qualcomm’s royalties and other license terms as fair
14    compensation for a license to Qualcomm’s patents.
15           206.     Testimony from Lenovo, Apple, Huawei, BlackBerry, and Samsung
16    witnesses establishes that the OEMs did not consider Qualcomm’s royalties to reflect the
17    fair value of Qualcomm’s patents.
18           207.     Despite OEMs’ assessment that Qualcomm’s license terms are not fair
19    value for access to Qualcomm’s patents, OEMs have signed license agreements with
20    Qualcomm that they would not have otherwise signed to gain access to Qualcomm’s
21    modem chips.
22           208.     Some OEMs signed license agreements only after Qualcomm threatened
23    to terminate their supply of Qualcomm modem chips.
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 1                    4.5.2   Qualcomm obtains royalty-free cross-licenses from OEMs
 2                            that it considers valuable
 3            209.    In addition to the running royalties that Qualcomm licensees pay
 4    Qualcomm, Qualcomm has also obtained valuable royalty-free cross-licenses from
 5    OEMs.
 6            210.    Qualcomm has obtained cross-licenses to benefit its modem chip
 7    business (i.e., demands that licensees grant back their patents to Qualcomm at the
 8    modem chip level, with exhaustive pass-through rights), even though Qualcomm refuses
 9    to license its own patents at the modem chip level.
10            211.    As a reflection of the value of the cross-licenses it obtains, Qualcomm
11    has provided modem chip customers with a “Third Party IP Rights” white paper that
12    describes the “substantial economic benefits” that accrue to Qualcomm’s modem chip
13    customers by virtue of the cross-licenses Qualcomm has obtained from its licensees.
14    5   Qualcomm’s Use of Incentive Funds
15            5.1     Qualcomm has used incentive funds to induce OEMs to accept its
16                    license terms
17            212.    Qualcomm has offered financial compensation (“incentive funds”) to
18    induce OEMs to accept license terms.
19            213.    The forms of incentive funds offered by Qualcomm to induce OEMs to
20    accept licensing terms include:
21                    a.      strategic funds and market development funds;
22                    b.      modem chip discounts;
23                    c.      indemnity agreements; and
24                    d.      other monetary payments, including non-recurring engineering
25            payments.
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 1           214.    Qualcomm has conditioned the availability of incentive funds on OEMs’
 2    acceptance of license terms.
 3           215.    OEMs have viewed incentive funds as compensation to OEMs for what
 4    OEMs viewed as excessive royalties.
 5           216.    Qualcomm executives acknowledge that incentive funds influenced OEM
 6    decisions to resolve royalty disputes.
 7           217.    Examples of instances in which Qualcomm offered an OEM substantial
 8    incentive funds as compensation to induce the OEM to accept Qualcomm licensing
 9    terms that it considered to be excessive include BlackBerry (2010), Lenovo (2014-16),
10    Sony Mobile (2012), and LG Electronics (2007, 2010, 2016).
11           5.2     Incentive funds are funded by QTL
12           218.    Qualcomm has had a number of substantial incentive funds that have
13    been partially or entirely funded by QTL.
14           219.    Qualcomm accounting memoranda regularly treat incentive funds and
15    related licenses as a “single arrangement” for accounting purposes, as “they were
16    negotiated as a package and executed at or near the same time.”
17           220.    Qualcomm attributes a number of its incentive funds used to secure
18    licensing agreements with modem chip customers to the QTL business unit for
19    accounting purposes.
20           5.3     Incentive funds accrue on chip purchases
21           221.    Many of Qualcomm’s incentive fund agreements that are funded by QTL
22    and used to resolve royalty disputes accrue based on OEM purchases of Qualcomm
23    modem chips, and do not accrue with respect to sales of cellular handsets that
24    incorporate non-Qualcomm modem chips.
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 1           222.    OEMs would have preferred that Qualcomm reduce its royalty rate
 2    instead of offering an incentive fund that accrued on the purchase of Qualcomm modem
 3    chips, because with a reduced royalty rate the OEM would have received cost savings
 4    whether it used Qualcomm modem chips or another supplier’s modem chips.
 5           5.4     Incentive funds have closed the gap on licensing terms
 6           223.    Qualcomm extended or withdrew incentive funds based on licensing
 7    negotiation outcomes. A key objective of incentive funds was to close the gap between
 8    Qualcomm’s royalty demands and some OEMs’ requests for lower royalties.
 9           224.    Qualcomm executives understood that other benefits received from
10    OEMs in exchange for incentive funds were “secondary” to obtaining favorable
11    licensing terms for Qualcomm.
12    6   Qualcomm’s Refusal to License Rival Modem Chip Suppliers
13           6.1     Qualcomm will not license rivals
14                   6.1.1   Qualcomm’s current policy is to not make licenses available to
15                           modem chip suppliers
16           225.    Qualcomm has a policy of not making exhaustive licenses for its cellular
17    SEPs available to competing modem chip suppliers.
18           226.    Other modem chip suppliers understand that Qualcomm’s standard
19    business practice is to not provide licenses to modem chip suppliers.
20                   6.1.2   Modem chip suppliers have requested licenses, and
21                           Qualcomm has rebuffed them
22           227.    Modem chip suppliers have requested licenses from Qualcomm, but
23    Qualcomm has refused requests for exhaustive licenses.
24           228.    MediaTek. Before 2008, MediaTek sold 2G, but not 3G, modem chips.
25

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 1            229.     In 2008, as it looked to expand into 3G modem chips, MediaTek sought a
 2    license from Qualcomm to Qualcomm’s cellular SEPs.
 3            230.     Qualcomm refused MediaTek’s 2008 request for a license.
 4            231.     Instead of a license, in 2009 MediaTek and Qualcomm signed two non-
 5    exhaustive agreements that Qualcomm would not assert its patents against MediaTek.
 6            232.     The 2009 agreements required that MediaTek sell only to OEMs that
 7    were licensed by Qualcomm.
 8            233.     In 2012, MediaTek asked Qualcomm to propose terms on a FRAND
 9    basis for an exhaustive license to Qualcomm’s cellular SEPs.
10            234.     Qualcomm refused MediaTek’s 2012 request for a license.
11            235.     Instead of entering a license, in 2013 MediaTek and Qualcomm amended
12    and suspended the 2009 agreements.
13            236.     Intel. In 2009, as it was considering purchasing a modem chip supplier,
14    Intel requested an exhaustive license from Qualcomm to Qualcomm’s cellular SEPs.
15            237.     Qualcomm refused Intel’s request for an exhaustive license, and the
16    parties did not execute such a license.
17            238.     Broadcom. Broadcom supplied modem chips, and requested an
18    exhaustive license from Qualcomm to Qualcomm’s cellular SEPs.
19            239.     Qualcomm refused Broadcom’s request for an exhaustive license.
20            240.     Instead of a license, in 2009 the parties signed a non-exhaustive
21    agreement that Qualcomm would not assert its patents against Broadcom.
22            241.     The 2009 agreement allowed Qualcomm to terminate Broadcom’s right
23    to sell to any third party that claimed the agreement exhausted any of Qualcomm’s
24    patent rights.
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 1           242.    Samsung. In 2011, as it considered entering the market for modem chips,
 2    Samsung requested an exhaustive license applicable to modem chips from Qualcomm to
 3    Qualcomm’s cellular SEPs.
 4           243.    Qualcomm refused Samsung’s request for an exhaustive license
 5    applicable to modem chips, and the parties did not execute such a license.
 6           244.    In 2017, Samsung again requested an exhaustive license applicable to
 7    modem chips from Qualcomm to Qualcomm’s cellular SEPs.
 8           245.    Qualcomm refused Samsung’s request for an exhaustive license
 9    applicable to modem chips.
10           246.    Instead, in 2018 the parties executed an agreement applicable to modem
11    chips that did not provide Samsung any rights under Qualcomm’s cellular SEPs.
12           247.    “Dragonfly” Joint Venture. “Project Dragonfly” was a code name for a
13    proposed joint venture between Samsung, NTT DoCoMo, and other companies to
14    develop, manufacture, and sell a modem chip.
15           248.    A license from Qualcomm was a condition precedent to the first closing
16    for funding of the Dragonfly joint venture.
17           249.    NTT DoCoMo tried to get a modem chip license from Qualcomm but
18    was unsuccessful.
19           250.    The Dragonfly joint venture fell through when NTT DoCoMo failed to
20    obtain a modem chip license from Qualcomm.
21           251.    Texas Instruments. Texas Instruments supplied modem chips, and
22    requested an exhaustive license from Qualcomm to Qualcomm’s cellular SEPs.
23           252.    Qualcomm refused Texas Instruments’ request for an exhaustive license.
24           253.    Instead, Qualcomm and Texas Instruments executed a non-exhaustive
25    agreement.
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 1                   6.1.3     Qualcomm’s historical ASIC agreements were not licenses.
 2           254.    Prior to 2008, Qualcomm offered competing modem-chip suppliers
 3    agreements called “ASIC Patent License Agreements” (APLAs). Although APLAs
 4    granted competing modem chip suppliers rights to make their own modem chips
 5    (ASICs), they purported to limit those suppliers’ sales of modem chips to “Authorized
 6    Purchasers”—namely, OEMs that had themselves entered into a license with
 7    Qualcomm.
 8           255.    Under the APLAs’ terms, licensed modem chip suppliers could not
 9    themselves use or pass on to others the right to use the supplier’s modem chips to make,
10    operate, or sell handsets or any other product. For example, under Qualcomm’s
11    agreement with VIA Telecom, VIA was not permitted to supply an OEM that had not
12    itself signed a license with Qualcomm.
13           256.    Qualcomm’s APLAs were not licenses to Qualcomm’s cellular SEPs.
14           6.2     Modem-chip level licensing (or multi-level licensing) is practicable
15           257.    It is possible and practical to license component-level patents to
16    component manufacturers, while simultaneously licensing any device-level patents
17    owned to device manufacturers.
18           258.    Qualcomm itself, as a modem chip supplier, is the recipient of a number
19    of component-level licenses.
20           259.    For example, in 1999, Ericsson and Qualcomm entered into a Multi-
21    Product Licensing Agreement (“MPLA”) pursuant to which Qualcomm obtained an
22    exhaustive chip-level license to Ericsson’s 3G SEPs.
23           6.3     Intended effect
24           260.    Qualcomm’s refusal to license rival modem chip suppliers was intended
25    to thwart competition.
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 1    7   Qualcomm’s Agreements with Apple
 2           261.    Apple has negotiated with Qualcomm in an effort to reduce the
 3    Qualcomm patent royalty burden that Apple bears. As a result of these negotiations,
 4    Apple entered into agreements with Qualcomm in 2007, 2011, and 2013.
 5           262.    Apple does not manufacture iPhones and iPads itself, but instead uses
 6    third-party CMs to manufacture those products.
 7           263.    The CMs that currently manufacture iPhones and/or iPads for Apple
 8    include: (i) Foxconn, (ii) Pegatron, (iii) Wistron, and (iv) Compal.
 9           7.1     Marketing Incentive Agreement (2007)
10           264.    Under a 2007 Marketing Incentive Agreement (“MIA”), Qualcomm
11    agreed to rebate to Apple royalties that Qualcomm received from Apple’s contract
12    manufacturers in excess of a specified per-handset cap. Qualcomm’s payment
13    obligations were conditioned upon, among other things, Apple not selling or licensing a
14    handset implementing the WiMAX standard, a prospective 4G cellular standard.
15                   7.1.1    Apple’s initial iPhones
16           265.    Apple had designed the first iPhone to use GSM technology as required
17    for AT&T’s network, as AT&T contracted with Apple for exclusive U.S. distribution
18    rights to the iPhone.
19           266.    Apple’s initial iPhone models did not incorporate Qualcomm modem
20    chips. Apple instead used Infineon modem chips.
21           267.    Apple believed that it needed to enter some form of direct or indirect
22    licensing arrangement with Qualcomm because, absent agreement with Qualcomm, it
23    could face the prospect of an injunction or be forced to pay royalties under Qualcomm’s
24    licenses with Apple’s CMs at rates that Apple considered to be excessive.
25

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 1           268.   Because of its concerns with the standard license terms required by
 2    Qualcomm (which included a requirement that Apple cross-license its intellectual
 3    property to Qualcomm), Apple concluded that it could not become a direct licensee of
 4    Qualcomm, and instead elected to use an indirect licensing arrangement with Qualcomm
 5    through Apple’s CMs.
 6                  7.1.2    Qualcomm’s concerns about WiMAX
 7           269.   In 2007, the WiMAX standard was a prospective next-generation cellular
 8    standard, with a low-cost royalty model, championed by Intel and opposed by
 9    Qualcomm.
10           270.   In 2007, Qualcomm was behind in developing WiMAX modem chips.
11           271.   Qualcomm wanted the industry to know that Apple would not pursue
12    WiMAX, and negotiated specifically for Apple to take a public position against
13    WiMAX.
14                  7.1.3    MIA terms
15           272.   In January 2007, Apple and Qualcomm entered into a Marketing
16    Incentive Agreement dated as of January 8, 2007 (“MIA”).
17           273.   The MIA provided Apple with royalty reductions conditioned on Apple
18    disclaiming WiMAX.
19           274.   Under the MIA and subsequent arrangements between Apple and
20    Qualcomm, Apple has not been a direct licensee of Qualcomm. Rather, Qualcomm has
21    charged Apple’s CMs royalties at 5% calculated against the CM selling price to Apple (a
22    lower amount than Apple’s selling price to consumers), and Apple has provided funds to
23    its CMs for payment of monies to Qualcomm. Apple then received separate rebates from
24    Qualcomm to reduce its royalty burden.
25

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 1           275.    Under the MIA, Qualcomm agreed, among other things, to make
 2    payments to Apple equal to the amount by which the CMs’ royalty payments to
 3    Qualcomm exceeded a reference amount of $7.50 per handset.
 4           276.    The $7.50 reference amount was agreed upon by top executives of Apple
 5    and Qualcomm, and intended to approximate the average absolute royalty amount then
 6    being paid by Qualcomm’s other licensees.
 7           277.    Under the MIA, Apple agreed, among other things, not to sell or license
 8    products implementing the WiMAX standard, and to publicly announce that it had
 9    chosen GSM technology rather than WiMAX.
10           278.    Qualcomm could terminate the MIA, and Qualcomm’s payments to
11    Apple under the MIA would be forfeited, if Apple sold or licensed commercial
12    quantities of phones implementing the WiMAX standard.
13           279.    Following its entry into the MIA, Apple terminated further evaluation of
14    WiMAX solutions.
15           7.2     Transition Agreements (2011 and 2013)
16           280.    Qualcomm and Apple entered into a Transition Agreement in 2011
17    (“TA”) and First Amendment to Transition Agreement in 2013 (“FATA,” and together
18    with the TA, the “Transition Agreements”). Under the Transition Agreements,
19    Qualcomm provided Apple large payments that constituted partial relief from
20    Qualcomm royalties. Qualcomm conditioned this relief on Apple’s exclusive use of
21    Qualcomm modem chips in new iPhone and iPad models.
22                   7.2.1   2011 Transition Agreement (TA)
23           281.    Under Qualcomm’s 2011 agreement with Apple, Qualcomm agreed to
24    make substantial incentive payments from 2011 through 2016, explicitly conditioned
25    upon Apple using Qualcomm modem chips exclusively in all new iPhone and iPad
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 1    models. If, during this period, Apple launched a new handset with a non-Qualcomm
 2    modem chip, it would forfeit all future payments and, depending on when a handset
 3    launched, could be required to refund to Qualcomm payments Apple had already
 4    received.
 5           282.    Following the release of the initial iPhone models on the AT&T network,
 6    Apple decided to expand the availability of the iPhone to additional consumers by
 7    supporting other carriers that operated on a CDMA network such as Verizon, one of the
 8    largest carriers in the United States.
 9           283.    As part of these efforts, Apple formulated plans to release an iPhone on
10    the Verizon network, which required CDMA-compatible handsets.
11           284.    In order to manufacture iPhones that would function on the Verizon
12    network, Apple needed to procure CDMA modem chips.
13           285.    Apple believed it had no choice but to use Qualcomm CDMA modem
14    chips, as Apple considered Qualcomm to be the only viable supplier of CDMA modem
15    chips for the iPhone.
16           286.    For the iPhone 4 GSM/UMTS (launched in 2010 on the AT&T network)
17    and for its earlier iPhones, Apple procured modem chips from Infineon. For the iPhone 4
18    CDMA (launched in February 2011 on Verizon), the 3G multimode (CDMA/UMTS)
19    iPhone 4S (launched in October 2011), and every new iPhone launched thereafter
20    through March of 2016, Apple procured multimode CDMA/UMTS modem chips from
21    Qualcomm.
22           287.    Apple repeatedly sought further relief from its substantial Qualcomm
23    royalty burden, both in general and as related to iPads and CDMA products in particular.
24           288.    Apple originally believed that the MIA (including the $7.50 reference
25    amount and related payments) would apply to both CDMA and UMTS devices, and to
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 1    both iPads and iPhones, but Apple subsequently became aware of Qualcomm’s position
 2    that the 2007 MIA—and the royalty rebates provided thereunder—did not apply to
 3    CDMA products or to iPads.
 4           289.    In 2010, Qualcomm believed that it could mitigate competitive threats to
 5    its modem business if it could prevent competitors from winning Apple’s business.
 6           290.    Due to Qualcomm’s position that the MIA—and the royalty rebates
 7    provided thereunder—did not apply to CDMA products or to iPads, in late 2010 Apple
 8    and Qualcomm negotiated in parallel regarding CDMA and UMTS modem chip pricing
 9    and the potential extension of the MIA royalty rebate program to CDMA devices.
10           291.    Rather than simply extending the MIA rebates to CDMA devices,
11    however, Qualcomm offered CDMA royalty relief in the form of up to $1 billion in
12    conditional payments from Qualcomm to Apple conditioned upon Apple purchasing
13    modem chips exclusively from Qualcomm for its new products.
14           292.    In February 2011, Apple, Qualcomm, and Qualcomm CDMA
15    Technologies Asia-Pacific Pte. Ltd. (“QCTAP”) entered into the TA, effective as of
16    February 11, 2011.
17           293.    The TA effectively provided Apple with partial royalty relief by
18    extending to CDMA handsets the MIA’s royalty-based rebates for UMTS handsets
19    (rebating to Apple royalties above $7.50 paid by its Contract Manufacturers), in
20    exchange for Apple’s commitment to launch new devices using exclusively Qualcomm
21    modem chips.
22           294.    Under the TA, Qualcomm agreed, among other things, to provide Apple:
23    (1) a $250 million “Transition Fund” to be paid in two installments, in March 2012 and
24    2013, conditioned on Apple purchasing more than 3 million modem chips per quarter
25    from Qualcomm in 2011, purchasing more than 5 million UMTS modem chips per
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 1    quarter in 2012, and launching at least one UMTS phone with a Qualcomm modem chip
 2    on multiple carrier networks by March 31, 2012; (2) a $150 million “Marketing and
 3    Development Fund” to be paid in six quarterly installments beginning in the third
 4    quarter of 2011, conditioned on Apple’s commercial launch of a product with a UMTS
 5    carrier that incorporates a Qualcomm UMTS modem chip by December 31, 2012; and
 6    (3) a $600 million “Variable Incentive Fund” paid by Qualcomm to Apple over four
 7    years (2012-2015), with a maximum of $200 million to be paid per year based on
 8    Apple’s modem chip purchases exceeding certain volume thresholds.
 9           295.   The TA permitted Qualcomm to immediately terminate the agreement
10    and make no further payments if Apple were to sell commercial quantities (i.e., more
11    than 1,000) of any new product after October 1, 2011 incorporating a non-Qualcomm
12    modem chip.
13           296.   The TA further provided that Apple’s sale during 2013 of commercial
14    quantities (i.e., more than 1,000) of any new product incorporating a non-Qualcomm
15    modem chip would require Apple to refund to Qualcomm a $125-million installment of
16    the Transition Fund and any 2013 Variable Incentive Fund payments (up to $200
17    million).
18                  7.2.2   2013 First Amendment to Transition Agreement (FATA) and
19                          Business Cooperation and Patent Agreement (BCPA)
20           297.   The 2013 First Amendment to Transition Agreement (“FATA”) and
21    Business Cooperation and Patent Agreement (“BCPA”) between Qualcomm and Apple
22    modified and extended the exclusivity and conditional royalty relief arrangements set
23    forth in the 2007 MIA and 2011 TA.
24           298.   In 2012, Apple continued to be dependent upon Qualcomm for chip
25    supply, both because Qualcomm remained the only viable supplier of CDMA modem
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 1    chips, and because Qualcomm had developed a lead in premium LTE modem chips that
 2    Apple required for iPhones under development for 2013.
 3           299.    The MIA term expired at the end of 2012. Because the MIA was nearing
 4    expiration, Apple sought in 2012 to negotiate an agreement with Qualcomm to continue
 5    and extend the partial royalty relief provided by the MIA’s rebate arrangement.
 6           300.    In 2012, Qualcomm viewed Intel as a key potential future competitor for
 7    supply of modem chips used in high-end cellular handsets.
 8           301.    Qualcomm recognized that gaining business at Apple would strengthen
 9    Intel as a competitor to Qualcomm.
10           302.    Qualcomm executives were confident that Qualcomm was the only
11    option for Apple’s premium-tier business in 2014, because only Qualcomm offered
12    CDMA as well as advanced LTE features.
13           303.    In late 2012, Apple conveyed to Qualcomm that it was considering using
14    Intel as a second supplier for some of Apple’s 2014 products.
15           304.    In late 2012 and early 2013, Apple and Qualcomm negotiated a set of
16    agreements that extended and modified the effective royalty relief that Qualcomm had
17    previously provided to Apple under the MIA and the TA conditioned upon Apple’s
18    agreement not to bring a FRAND challenge against Qualcomm and to extend the
19    exclusive supply arrangement for new models begun under the TA.
20           305.    On February 28, 2013, Apple and Qualcomm entered into the BCPA,
21    dated as of January 1, 2013.
22           306.    Also on February 28, 2013, Apple, Qualcomm, and QCTAP entered into
23    the FATA, effective as of January 1, 2013.
24           307.    On February 28, 2013, Apple and Qualcomm entered into a Statement of
25    Work for Qualcomm Chipsets for Mav 7/8, Mav 10, and Mav 13 (“Mav7/8, Mav10, and
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 1    Mav13 SOW,” and together with the BCPA and the FATA, the “2013 Agreements”).
 2    The Mav7/8, Mav10, and Mav13 SOW relates to the supply of Qualcomm modem
 3    chips, including those incorporated into Apple’s iPhone 5C, iPhone 5S, iPhone 6, iPhone
 4    6 Plus, iPhone 6S, and iPhone 6S Plus.
 5           308.    The 2013 Agreements were negotiated and signed as a package deal
 6    covering both licensing and modem chip supply terms.
 7           309.    Like the MIA, the BCPA provided that Qualcomm would, among other
 8    things, make payments to Apple equal to the amount by which the CMs’ royalty
 9    payments to Qualcomm exceeded a reference amount per handset. Under the BCPA, the
10    reference amount increased from the prior $7.50 (under the MIA) to $10.00 for iPhones
11    and $9.00 for iPads.
12           310.    Qualcomm’s obligation to make BCPA rebate payments was subject to,
13    among other terms, a condition that Apple neither initiate nor induce others to initiate
14    litigation claiming that Qualcomm had failed to offer a license on FRAND terms. Under
15    the BCPA, Apple further agreed to extend certain patent rights to Qualcomm.
16           311.    The balance of the royalty relief provided to Apple under the 2013
17    Agreements came in the form of substantial incentive payments under the FATA in
18    2013, 2014, 2015, and 2016, linked to Apple’s purchases of Qualcomm modem chips
19    and explicitly conditioned on Apple sourcing modem chips for new iPad and iPhone
20    models exclusively from Qualcomm. The FATA established a “Marketing Fund”
21    pursuant to which Qualcomm rebated an additional $2.50 to Apple for each Apple
22    handset ($1.50 for iPads) incorporating a Qualcomm modem chip. In addition to the
23    Marketing Fund, the FATA also provided for up to $400 million in new Variable
24    Incentive Fund payments during 2015 and 2016.
25

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 1           312.    By increasing the royalty rebate reference amount from $7.50 (under the
 2    MIA) to $10.00 (under the BCPA), and adding a $2.50 per unit modem chip rebate only
 3    on Qualcomm chips, the 2013 Agreements effectively increased the cost to Apple of
 4    purchasing a chip from any of Qualcomm’s competitors.
 5           313.    The FATA further provided that Qualcomm may immediately terminate
 6    the agreement, make no further payments, and “clawback” certain past incentive
 7    payments if Apple were to sell commercial quantities (i.e., more than 1,000) of any new
 8    product incorporating a non-Qualcomm modem chip.
 9           314.    Billions of dollars were potentially at risk if Apple were to launch a new
10    product using modem chips from a Qualcomm rival during the term of the FATA. For
11    example, Apple forecast that any use of a non-Qualcomm modem chip in 2015 would
12    result in return or forfeiture of over $1 billion in rebates associated with design wins
13    already awarded to Qualcomm.
14           315.    Qualcomm concluded that the 2013 Agreements were strategically
15    justified because they would keep Intel from developing as a competitor and avoid a
16    royalty fight with Apple.
17           316.    Qualcomm also perceived strategic value in avoiding a FRAND
18    challenge brought by Apple.
19           7.3     The 2011 and 2013 agreements prevented Apple from working with
20                   other modem chip suppliers
21           317.    In all, Qualcomm’s 2011 and 2013 agreements with Apple provided for
22    billions of dollars in conditional rebates from Qualcomm to Apple for modem chip sales
23    from 2011 to 2016. These conditional rebates effectively penalized Apple’s use of any
24    modem chips supplied by Qualcomm’s competitors.
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 1            318.   The large penalties that Apple would face under its agreements with
 2    Qualcomm in the event that it sourced modem chips from another modem chip supplier
 3    dis-incentivized Apple from engaging with and using alternative suppliers during the
 4    effective exclusivity period under these agreements.
 5            319.   As a result of the exclusivity terms in its agreements with Qualcomm,
 6    Apple sourced modem chips exclusively from Qualcomm for all new iPad and iPhone
 7    products that it launched over the five-year period from October 2011 until September
 8    2016.
 9            320.   Qualcomm intended its agreements with Apple to foreclose Qualcomm’s
10    competitors from gaining modem chip business at Apple.
11                          7.3.1.1    The 2013 Agreements caused Apple to suspend its
12                                     engineering engagement with Intel and delayed
13                                     Intel’s entry at Apple
14            321.   Apple was intensively engaged with Intel during 2012 to develop modem
15    chips for possible use in Apple products in 2014 and/or 2015, but Apple suspended that
16    engagement in early 2013 as a result of its entry into the 2013 Agreements with
17    Qualcomm.
18            322.   Apple had an interest in developing and working with additional
19    suppliers of modem chips, and fostering competition in the modem chip market.
20            323.   As early as March of 2012, Apple began considering Intel as a modem
21    chip supplier for a 2014 iPad. Throughout 2012, Apple engaged with Intel regarding
22    possible use of Intel modem chips in upcoming 2014 and 2015 iPad or iPhone products.
23            324.   In the fall of 2012, Apple concluded that it was economically
24    advantageous to use Intel as a second supplier of modem chips for a 2014 iPad product
25

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 1    due to Intel’s price terms despite forfeiting amounts that would have otherwise been due
 2    under the TA if Apple remained exclusive.
 3              325.   An advantage perceived by Apple of starting Intel in an iPad was that it
 4    would “de-risk” subsequent use of Intel modem chips in 2015 iPhones. Following
 5    introduction of an Intel modem chip in a lower-risk 2014 iPad, Apple would have
 6    greater engineering confidence in Intel’s execution and performance for broader use in
 7    2015.
 8              326.   Apple’s modem chip acquisition decisions were made by a collaborative
 9    process involving representatives of Apple’s hardware engineering, software
10    engineering, silicon, and business operations groups.
11              327.   Apple’s engineering engagement with Intel during 2012 was undertaken
12    at the behest of Apple’s commercial operations group, with the objective of bringing up
13    an alternate supplier to Qualcomm, improving costs, and enhancing leverage with
14    Qualcomm.
15              328.   In early 2013, Apple suspended its engagement with Intel as a potential
16    modem chip supplier as a result of the 2013 Agreements.
17              329.   For 2015 as well as 2014, Apple considered the penalties under the
18    FATA to economically preclude a low-volume entry by Intel through an iPad or low tier
19    device.
20              330.   Apple did not send out an RFP for 2015 iPhones and only considered
21    Qualcomm.
22              331.   The penalties under the FATA for Apple using non-Qualcomm modem
23    chips in 2016 were substantially less than for 2015, and in 2014 Apple reengaged with
24    Intel in preparation for possible use of Intel in 2016.
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 1           332.    In preparation for using Intel in 2016, Apple’s engineering team wanted
 2    to use an Intel modem chip in a 2015 iPad.
 3           333.    Apple did not engage Intel for a 2015 iPad as a result of the penalties that
 4    would be incurred under the FATA.
 5    8   Harm to Competition
 6           8.1     Generally
 7           334.    Qualcomm’s no license-no chips policy, its refusal to make licenses
 8    available to competing modem chip suppliers, its practice of offering incentive funds to
 9    induce customers to agree to license terms, and its agreements with Apple, taken as a
10    whole, have tended to hamper competition in markets for CDMA and premium LTE
11    modem chips.
12           8.2     Qualcomm’s royalties are unreasonably high
13           335.    The royalties that Qualcomm is able to obtain for its SEPs exceed by a
14    wide margin any range of royalties that may be considered fair and reasonable, and are
15    disproportionate to the royalties charged by other licensors of cellular SEPs.
16           336.    Qualcomm’s internal documents acknowledge that its licensing revenue
17    far outpaces that of other licensors.
18           337.    Analyses considered by Qualcomm’s Board of Directors during
19    Qualcomm’s 2015 “Project Phoenix” corporate structure assessment predicted that QTL
20    would earn substantially less in royalties if it separated from QCT.
21           338.    Qualcomm’s royalties far exceed the range of fair and reasonable
22    royalties calculated using reliable methodologies, along with studies and measures that
23    Qualcomm has itself used in the ordinary course to compare the strength of Qualcomm’s
24    SEP portfolio to the SEP portfolios of other licensors.
25

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 1           8.3     Qualcomm’s no license-no chips policy has raised the cost to OEMs
 2                   of using modem chips supplied by Qualcomm’s competitors
 3           339.    Through its no license-no chips policy, Qualcomm has brought to bear
 4    bargaining leverage based on its monopoly power in relevant markets for modem chips
 5    on its patent licensing negotiations with OEMs.
 6           340.    This leverage has allowed Qualcomm to induce OEMs to agree to pay a
 7    surcharge in the form of royalties higher than the OEMs would otherwise have been
 8    willing to accept on all handsets they sell, regardless of whether those handsets use
 9    modem chips supplied by Qualcomm’s competitors.
10           341.    These unreasonably high royalties have harmed competition in relevant
11    markets for CDMA and Premium LTE modem chips and harmed consumers.
12           342.    When evaluating handset designs, OEMs consider the all-in price of a
13    modem chip, which includes both (i) the nominal price of the modem chip, and (ii) any
14    associated patent royalties that the OEM must pay to use that modem chip in a cellular
15    handset.
16           343.    By using bargaining leverage based on its CDMA and Premium LTE
17    modem-chip monopoly power to extract unreasonably high royalties (in excess of a
18    FRAND rate) on every handset that OEMs sell, Qualcomm has effectively raised the
19    latter component of modem chips’ all-in price by an added increment that does not
20    reflect the value of Qualcomm’s SEPs, but rather reflects Qualcomm’s market power
21    over modem chips.
22           344.    As a result of Qualcomm’s no license-no chips policy, the all-in price of
23    any modem chip includes (i) the nominal price of the modem chip itself, which the OEM
24    must pay the modem-chip manufacturer; (ii) a reasonable royalty, which the OEM must
25    pay to Qualcomm to practice Qualcomm’s patents; and (iii) an added surcharge, which
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 1    the OEM must pay to Qualcomm to ensure continued access to Qualcomm’s modem-
 2    chip supply, regardless of whether the modem chip at issue is supplied by Qualcomm or
 3    one of Qualcomm’s competitors.
 4           345.    Incentive funds offered by Qualcomm to OEM customers have induced
 5    customers to accept unreasonably high royalties and other license terms, and thus
 6    contributed to Qualcomm’s maintenance of a surcharge that raises the cost of using
 7    competitors’ modem chips. To the extent that these incentive funds have been linked to
 8    OEMs’ purchases of Qualcomm’s modem chips, they have created a further disincentive
 9    for OEMs to purchase modem chips supplied by Qualcomm’s competitors.
10           346.    The surcharge that OEMs must pay to maintain access to Qualcomm
11    modem chips even when they purchase a modem chip from one of Qualcomm’s
12    competitors puts Qualcomm’s competitors at a competitive disadvantage.
13           347.    Though Qualcomm imposes a nominal surcharge on sales of its own
14    modem chips as well, that surcharge does not impose any additional cost on transactions
15    that take place between OEMs and Qualcomm. This is because Qualcomm—a party to
16    these transactions—receives the surcharge in question.
17           348.    As applied to Qualcomm’s own modem chips, the surcharge does not
18    represent an additional cost, but additional profits—a component of the all-in price that
19    OEMs must pay Qualcomm to use its modem chips.
20           8.4     By imposing a surcharge that OEMs pay regardless of whether
21                   OEMs use Qualcomm chips or rivals’ chips, Qualcomm’s no license-
22                   no chips policy weakens rivals
23           349.    By imposing an unreasonable cost on Qualcomm’s competitors’ sales, the
24    surcharge reduces demand for competitors’ modem chips, reduces competitors’ sales,
25    and diminishes competitors’ ability and incentive to invest and innovate.
26
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 1           350.    Suppliers of CDMA and premium LTE modem chips must ship
 2    substantial volumes of chips and earn significant margins on those shipments to sustain
 3    the research and development required to maintain a viable business.
 4           351.    By lowering volume available to modem chip competitors, through
 5    higher effective costs associated with using their modem chips, Qualcomm’s surcharge
 6    has hampered those competitors in their attempts to obtain benefits of scale.
 7           352.    By reducing competing suppliers’ sales, Qualcomm’s surcharge
 8    diminishes competitors’ abilities and incentives to invest and innovate.
 9           353.    Qualcomm’s no license-no chips policy reduces competitors’ abilities to
10    invest and innovate in next-generation technologies.
11           354.    A number of Qualcomm’s former modem-chip competitors have
12    shuttered their businesses, citing inadequate sales and margins.
13           355.    Qualcomm’s remaining modem-chip competitors operate at margins
14    lower than the industry benchmarks for maintaining viable businesses.
15           8.5     Harm to consumers
16           356.    The Qualcomm surcharge raises the cost to an OEM of using
17    competitors’ modem chips, compared to the but-for world in which Qualcomm did not
18    impose a surcharge.
19           357.    The surcharge weakens the competitive constraints that competitors
20    would otherwise impose on Qualcomm’s own pricing decisions, compared to the but-for
21    world in which Qualcomm did not impose a surcharge.
22           358.    OEMs predictably pass through to final consumers in the form of higher
23    prices for handsets at least some portion of the surcharge OEMs pay in the form of
24    royalties, and any supra-competitive price OEMs pay for modem chips as a result of
25    Qualcomm’s rivals’ reduced ability to compete.
26
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 1           8.6     Qualcomm’s agreements with Apple foreclosed an important and
 2                   substantial portion of the premium LTE modem chip market
 3           359.    Qualcomm’s Transition Agreements with Apple foreclosed Qualcomm’s
 4    competitors, including Intel, from a substantial and important share of the market for
 5    premium LTE modem chips.
 6           360.    Qualcomm’s Transition Agreements with Apple in 2011 and 2013 were a
 7    significant factor in Intel’s failure to win business at Apple in 2014 or 2015.
 8           361.    Apple worked extensively with Intel in 2012 to evaluate the prospect of
 9    using Intel’s modem chips for its 2014 products.
10           362.    During the term of the Transition Agreements, Apple desired a second
11    source for its products, apart from Qualcomm.
12           363.    During 2012, Apple was closely engaged with Intel in an effort to use
13    Intel modem chips in potential 2014 and 2015 Apple products.
14           364.    In January 2013, as a result of its decision to enter the FATA, Apple
15    suspended its engineering engagement with Intel, and informed Intel that it would not be
16    considered as a potential supplier for modem chips for Apple products released in 2014
17    and 2015.
18           365.    Absent the FATA, Apple had an interest in maintaining multiple sources
19    of modem chips, and had the incentive and ability to create new product models, adjust
20    performance requirements, and modify launch schedules to facilitate entry of a new
21    modem chip supplier.
22           366.    Intel did not secure a design win from Apple until it secured a design win
23    for certain models of the iPhone 7, released in late 2016.
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 1           367.     Qualcomm’s agreements with Apple foreclosed a substantial share of the
 2    market share for premium LTE modem chips, between 48% and 50% for each year from
 3    2012 through 2014.
 4           368.     Apple is a strategically important customer for modem chip suppliers.
 5    Apple sells large volumes of premium handsets that require premium LTE modem
 6    chips, which command higher prices than lower-tier modem chips.
 7           369.     Winning an Apple design would provide a modem chip manufacturer
 8    increased scale.
 9           370.     Increased scale allows modem chip manufacturers to spread research and
10    development costs over a greater number of units.
11           371.     Winning an Apple design would provide modem chip manufacturers with
12    a number of competitive benefits apart from increased scale.
13           372.     Modem chip suppliers must secure certification of their modems from
14    wireless carriers and infrastructure vendors.
15           373.     Working with Apple allows a modem chip manufacturer to field-test
16    modems on a worldwide basis.
17           374.     Extensive field-testing is the only way modem chip manufacturers can
18    ensure that a modem chip will work as expected in a wide range of real-world
19    conditions.
20           375.     Wireless carriers and infrastructure vendors would be more likely to work
21    with modem chip suppliers that have won an Apple design.
22           376.     Being an incumbent supplier at a given OEM makes it easier to obtain
23    future business at that OEM.
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 1              377.    If Intel had won an Apple design before the 2016 iPhone, it would have
 2    enjoyed some or all of the competitive benefits discussed above during the relevant time
 3    period.
 4              378.    Intel’s belief that it was not being considered for 2014 or 2015 Apple
 5    products negatively affected Intel’s modem chip design efforts in that time period,
 6    including decisions on which features to support and modem release timetables.
 7              379.    Intel won modem chip business with Apple beginning with certain
 8    models of the iPhone 7. Intel has benefitted from its status as a modem chip supplier to
 9    Apple since late 2016.
10              380.    If Intel had won an Apple design earlier, it could have been a stronger
11    competitor to Qualcomm today.
12              381.    Currently, if Intel were to lose Apple’s business for a single design cycle,
13    it would likely cause Intel’s exit from the modem chip market.
14              382.    As a result of Broadcom’s loss of an Apple design win, Broadcom exited
15    the modem chip market.
16              383.    Broadcom’s loss prevented it from achieving the high-margin premium
17    modem chip sales it needs to be profitable.
18              8.7     Refusal to license rivals
19              384.    Qualcomm’s refusal to make SEP licenses available to competing modem
20    chip suppliers has contributed to Qualcomm’s maintenance of a surcharge, in the form
21    of excess royalties OEMs agree to pay regardless of whether the modem chip at issue is
22    supplied by Qualcomm or one of Qualcomm’s competitors.
23              385.    Unlike OEMs, Qualcomm’s competitors do not depend on Qualcomm for
24    modem chip supply. If Qualcomm licensed modem chip suppliers, its ability to use its
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 1    modem chip market power to extract unreasonably high royalties paid on cellular
 2    products that include non-Qualcomm modem chips would be significantly reduced.
 3           386.    During the relevant time period, Qualcomm’s refusal to make licenses
 4    available to competing modem chip suppliers deterred entry and investment in relevant
 5    modem chip markets.
 6           387.    During the relevant time period, Qualcomm’s refusal to make licenses
 7    available to competing modem chip suppliers impaired the competitiveness of
 8    Qualcomm’s existing modem chip rivals.
 9           388.    Qualcomm’s non-exhaustive agreements with modem chip suppliers
10    contained onerous restrictions that impaired Qualcomm’s modem chip rivals from
11    making sales to handset OEMs.
12           389.    Qualcomm’s non-exhaustive agreements with modem chip suppliers,
13    including MediaTek and Via Telecom, restricted rival suppliers from selling modem
14    chips to OEMs that were unlicensed, enhancing Qualcomm’s leverage in royalty and
15    licensing negotiations with OEMs.
16           8.8     The market reflects the tendency of Qualcomm’s conduct to exclude
17                   competition
18           390.    During the relevant time period, expected competition did not materialize
19    in the CDMA and premium LTE modem chip markets.
20           391.    During the relevant time period, expected competition was deterred from
21    entering the CDMA and premium LTE modem chip markets in part by Qualcomm’s
22    anticompetitive conduct.
23           392.    During the relevant time period, existing competition exited the CDMA
24    and premium LTE modem chip markets in part due to Qualcomm’s anticompetitive
25    conduct.
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 1            393.      The CDMA and premium LTE modem chip markets are highly
 2    concentrated.
 3    9   Remedy
 4            9.1       Qualcomm’s conduct is ongoing, and absent injunctive relief the
 5                      resulting competitive harm is likely to continue and recur
 6            394.      Qualcomm’s no license-no chips policy, its refusal to make licenses
 7    available to competing modem chip suppliers, and its practice of offering incentive
 8    funds to induce customers to agree to license terms are ongoing, and absent injunctive
 9    relief the resulting competitive harm is likely to continue and recur.
10            395.      Qualcomm has not voluntarily ceased the challenged conduct despite
11    known antitrust risk, OEM complaints, foreign antitrust enforcement actions, and the
12    present action.
13            396.      Hundreds of Qualcomm licenses, secured through Qualcomm’s no
14    license-no chips policy, remain in effect.
15            397.      Qualcomm has historically recognized the antitrust risk inherent in its no
16    license-no chips policy, but has persisted with the conduct, defending against any
17    antitrust and related claims and continuing to maintain the ability to cease modem chip
18    supply where necessary.
19            398.      Qualcomm’s practice of not making SEP licenses available to rival
20    modem chip suppliers remains in effect.
21            399.      Qualcomm’s practice of agreeing to incentive funds or other payments to
22    OEMs contemporaneously with OEMs agreeing to patent license terms continued in
23    2018.
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 1           400.    Qualcomm continues to engage in the challenged conduct despite recent
 2    investigations, fines, and injunctions by foreign competition authorities, including the
 3    Korea Fair Trade Commission.
 4           401.    There is a substantial likelihood that Qualcomm will have market power
 5    in market(s) for 5G modem chips.
 6           402.    When Qualcomm was considering whether to separate its licensing and
 7    chip businesses in 2015 (and deciding not to), Qualcomm executives explicitly
 8    recognized that QCT modem chip leadership in the transition to 5G would benefit
 9    QTL’s royalty rates.
10           403.    Qualcomm has been the leading modem chip supplier for many years,
11    particularly as to premium and leading-edge modem chips.
12           404.    Qualcomm’s business model has historically given it a time-to-market
13    advantage at times of technological transition, and Qualcomm expects to lead the
14    transition to 5G.
15           405.    Qualcomm business planning documents indicate that the time-to-market
16    advantage arising from Qualcomm’s SSO participation is strongest at the outset of a new
17    standard and translates into additional chip margins and higher royalties.
18           406.    OEMs and rival modem chip suppliers believe that Qualcomm will have
19    a lead in 5G modem chip supply similar to the lead Qualcomm has had in premium
20    LTE.
21           407.    Qualcomm has publicly stated that it has a significant lead—of at least
22    12-24 months—over its merchant competitors in bringing 5G chips to market; that all
23    OEMs and carriers working to bring 5G to market are working with Qualcomm; that no
24    other company comes close to Qualcomm on 4G LTE Advanced or on 5G; that it
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 1    anticipates a large 5G market share; and that it anticipates emerging from the transition
 2    to 5G as a larger and even better-positioned company.
 3             408.    Market power in 5G modem chips, taken together with the ongoing
 4    nature of the challenged business practices, would allow Qualcomm—absent injunctive
 5    relief—to continue to extract unreasonably high royalties and other anticompetitive
 6    licensing and modem chip sale terms from OEMs.
 7             9.2     The forms of injunctive relief sought by the FTC are practicable and
 8                     consistent with normal industry practice
 9             409.    Qualcomm’s current licenses are fundamentally infected by Qualcomm’s
10    decades-long course of anticompetitive conduct.
11             410.    Going forward, Qualcomm’s current licenses cannot serve as relevant
12    benchmarks for determining whether license terms and conditions are fair and
13    reasonable.
14             411.    Qualcomm is able to—and has touted its ability to—modestly reform and
15    adjust its licensing practices as required by regulatory risks or mandates.
16             412.    Modem-chip-level licensing and multi-level licensing, if necessary, are
17    practicable.
18             413.    Qualcomm’s own business practices with respect to non-WAN (Wi-Fi)
19    chips demonstrate that exhaustive sales of components implementing standardized
20    technologies are practicable.
21             414.    Other suppliers of standard-compliant cellular components routinely sell
22    components on an exhaustive basis.
23             415.    Multi-level licensing, if necessary, facilitates efficient negotiations by
24    enabling the parsing of information about where relevant patents apply in the value
25    chain.
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 1                    PRETRIAL PROPOSED CONCLUSIONS OF LAW
 2           1.      Qualcomm Incorporated (“Qualcomm”) is a “corporation” within the
 3    meaning of Section 4 of the Federal Trade Commission Act (“FTC Act”), 15 U.S.C. §
 4    44.
 5           2.      Qualcomm has engaged, and continues to engage, in “commerce” and
 6    activities affecting commerce as that term is defined by Section 4 of the FTC Act, 15
 7    U.S.C. § 44.
 8           3.      This Court has subject matter jurisdiction over this action pursuant to 15
 9    U.S.C. §§ 45(a) and 53(b), and 28 U.S.C. §§ 1331, 1337(a), and 1345.
10           4.      Section 5 of the Federal Trade Commission Act prohibits “[u]nfair
11    methods of competition.” 15 U.S.C. § 45(a); Order Granting FTC’s Motion for Partial
12    Summary Judgment, ECF No. 931 (“SJ Order”), at 10.
13           5.      “Unfair methods of competition” under the FTC Act include violations of
14    the Sherman Act. FTC v. Ind. Fed’n of Dentists, 476 U.S. 447, 454-55 (1986); FTC v.
15    Cement Inst., 333 U.S. 683, 694 (1948); SJ Order, at 10.
16           6.      “Unfair methods of competition” under the FTC Act also include conduct
17    that, although not a violation of the letter of the Sherman Act, conflicts with the basic
18    policies of the Sherman Act. FTC v. Brown Shoe Co., 384 U.S. 316, 321 (1966); E.I. du
19    Pont de Nemours & Co. v. FTC, 729 F.2d 128, 136-37 (2d Cir. 1984); SJ Order, at 10.
20           7.      Conduct may be an “unfair method of competition” if it is “collusive,
21    coercive, predatory or exclusionary in character” or possesses other “indicia of
22    oppressiveness.” E.I. du Pont de Nemours, 729 F.2d at 138-40; SJ Order, at 11.
23           8.      Under Section 2 of the Sherman Act, it is unlawful for a firm to
24    “monopolize” a relevant market. 15 U.S.C. § 2; United States v. Microsoft Corp., 253
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 1    F.3d 34, 50 (D.C. Cir. 2001) (en banc) (per curiam); Order Denying Motion to Dismiss,
 2    ECF No. 134 (“MTD Order”), at 18.
 3           9.       A monopolization offense has two elements: (1) the possession of
 4    monopoly power in the relevant market and (2) anticompetitive conduct—“the willful
 5    acquisition or maintenance of that power as distinguished from growth or development
 6    as a consequence of a superior product, business acumen, or historic accident.” Eastman
 7    Kodak Co. v. Image Tech. Servs., Inc., 504 U.S. 451, 481 (1992); Microsoft, 253 F.3d at
 8    50; MTD Order, at 18.
 9           10.      Section 1 of the Sherman Act prohibits “[e]very contract, combination …
10    or conspiracy, in restraint of trade or commerce.” 15 U.S.C. § 1; Allied Orthopedic
11    Appliances, Inc. v. Tyco Health Care Grp. LP, 592 F.3d 991, 996 (9th Cir. 2010); MTD
12    Order, at 18.
13           11.      To show a violation of Section 1, a plaintiff must establish (1) the
14    existence of an agreement, i.e., concerted action; and (2) that the agreement was an
15    unreasonable restraint of trade. See Aerotec Int’l, Inc. v. Honeywell Int’l, Inc., 836 F.3d
16    1171, 1178 (9th Cir. 2016) (citing Am. Needle, Inc. v. Nat’l Football League, 560 U.S.
17    183, 189-90 (2010)).
18           12.      Under Section 1, a plaintiff may establish a prima facie case that an
19    agreement is unreasonable by showing (1) that a defendant has market power in the
20    relevant market; and (2) that the agreement tends to harm competition. See Bhan v. NME
21    Hospitals, Inc., 929 F.2d 1404, 1413 (9th Cir. 1991); Realcomp II, Ltd. v. FTC, 635 F.3d
22    815, 827 (6th Cir. 2010).
23           13.      Monopoly power is “the power to control prices or exclude competition.”
24    United States v. E. I. du Pont de Nemours & Co., 351 U.S. 377, 391 (1956).
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 1              14.     Market or monopoly power may be established through circumstantial
 2    evidence, namely “a firm’s possession of a dominant share of a relevant market that is
 3    protected by entry barriers.” Microsoft, 253 F.3d at 51 (citing Rebel Oil Co. v. Atl.
 4    Richfield Co., 51 F.3d 1421, 1434 (9th Cir. 1995)); see also Forsyth v. Humana, Inc.,
 5    114 F.3d 1467, 1475-76 (9th Cir. 1997), overruled on other grounds by Lacey v.
 6    Maricopa Cty., 693 F.3d 896 (9th Cir. 2012).
 7              15.     “Unlike Section 2 claims, Section 1 restraint of trade claims need not
 8    establish the threshold showing of monopoly control over a relevant market.” Amarel v.
 9    Connell, 102 F.3d 1494, 1522 (9th Cir. 1996); MTD Order, at 18. A lesser showing is
10    required to establish market power for Section 1 purposes than to establish monopoly
11    power for Section 2 purposes. See Eastman Kodak Co. v. Image Technical Servs., Inc.,
12    504 U.S. 451, 481 (1992).
13              16.     An antitrust market is comprised of a relevant geographic market and a
14    relevant product market. See Brown Shoe Co. v. United States, 370 U.S. 294, 324
15    (1962).
16              17.     The relevant geographic market in this case is worldwide.
17              18.     The hypothetical monopolist test is a widely accepted methodology to
18    define relevant antitrust markets. It is derived from Supreme Court precedent, adopted
19    by the U.S. Department of Justice and the Federal Trade Commission in the Horizontal
20    Merger Guidelines, and routinely applied by courts and economists in both merger and
21    non-merger cases across many industries. See Saint Alphonsus Medical Center-Nampa
22    Inc. v. St. Luke's Health Sys., Ltd., 778 F.3d 775, 784 (9th Cir. 2015); Theme
23    Promotions, Inc. v. News Am. Mktg. FSI, 546 F.3d 991, 1002 (9th Cir. 2008); U.S. Dep’t
24    of Justice & Fed. Trade Comm’n, Horizontal Merger Guidelines § 4.1.2 (2010).
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 1             19.     The hypothetical monopolist test is a method of identifying reasonable
 2    substitutes for the product(s) in question. See Theme Promotions, 546 F.3d at 1002;
 3    Hynix Semiconductor Inc. v. Rambus Inc., No. CV-00-20905 RMW, 2008 WL 73689, at
 4    *3 (N.D. Cal. Jan. 5, 2008).
 5             20.     The hypothetical monopolist test asks whether a hypothetical monopolist
 6    of all products within a proposed market could profitably impose a small but significant
 7    non-transitory increase in price (“SSNIP”) in the proposed market. If enough purchasers
 8    would respond to a SSNIP by purchasing a product from outside the proposed market,
 9    making the SSNIP unprofitable, the proposed market definition is too narrow. See Saint
10    Alphonsus Medical Center, 778 F.3d at 784; Hynix Semiconductor, 2008 WL 73689,
11    at *3.
12             21.     Applying the hypothetical monopolist test, a relevant antitrust product
13    market for purposes of assessing Qualcomm’s conduct is modem chips with CDMA 2G
14    or 3G capability. Modem chips without CDMA capability are not reasonable substitutes
15    for CDMA modem chips and a hypothetical monopolist of all CDMA modem chips
16    could profitably impose a SSNIP above competitive levels.
17             22.     Applying the hypothetical monopolist test, a relevant antitrust product
18    market for purposes of assessing Qualcomm’s conduct is premium LTE modem chips,
19    i.e., chips with LTE capability deployed in premium-tier handsets. Non-premium LTE
20    modem chips are not reasonable substitutes for premium LTE modem chips and a
21    hypothetical monopolist of all premium LTE modem chips could profitably impose a
22    SSNIP above competitive levels.
23             23.     There is some overlap between the CDMA and premium LTE modem
24    chip markets, but this overlap does not affect their treatment as separate antitrust
25    markets.
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 1           24.     Qualcomm possessed monopoly power in the worldwide market for
 2    CDMA modem chips each year from 2006 through 2016.
 3           25.     Qualcomm possessed monopoly power in the worldwide market for
 4    premium LTE modem chips each year from 2011 through 2016.
 5           26.     Qualcomm possessed market power in the worldwide market for CDMA
 6    modem chips each year from 2006 through 2016.
 7           27.     Qualcomm possessed market power in the worldwide market for
 8    premium LTE modem chips each year from 2011 through 2016.
 9           28.     Qualcomm’s “no license-no chips” policy is effectuated through
10    Qualcomm chip supply and patent license agreements with OEMs and supported by
11    incentive funds and similar agreements Qualcomm has entered with OEMs. These
12    agreements are concerted action under Section 1 of the Sherman Act. See, e.g., ZF
13    Meritor, LLC v. Eaton Corp., 696 F.3d 254, 277 (3d Cir. 2012) (contracts with
14    anticompetitive terms “essentially forced” by the defendant); MCM Partners v.
15    Andrews-Bartlett & Assocs., 62 F.3d 967, 973-75 (7th Cir. 1995).
16           29.     Qualcomm’s 2011 and 2013 agreements with Apple are concerted action
17    under Section 1 of the Sherman Act. See Allied Orthopedic Appliances, 592 F.3d at 996;
18    ZF Meritor, LLC v. Eaton Corp., 696 F.3d 254, 270, 277 (3d Cir. 2012).
19           30.     Under the Sherman Act, conduct that “harm[s] the competitive process
20    and thereby harm[s] consumers” is anticompetitive. McWane, Inc. v. FTC, 783 F.3d 814,
21    835-36 (11th Cir. 2015) (quoting Microsoft, 253 F.3d at 58); MTD Order, at 30.
22           31.     When a defendant has engaged in multiple acts or practices that may be
23    anticompetitive, a court must consider their interactions and combined effects. Free
24    FreeHand Corp. v. Adobe Sys., Inc., 852 F. Supp. 2d 1171, 1180 (N.D. Cal. 2012)
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 1    (citing City of Anaheim v. S. Cal. Edison Co., 955 F.2d 1373, 1376, 1378 (9th Cir.
 2    1992)); MTD Order, at 31.
 3           32.     A government plaintiff seeking injunctive relief in an antitrust case need
 4    not “reconstruct the hypothetical marketplace absent a defendant’s anticompetitive
 5    conduct,” but instead must show that the “defendant has engaged in anticompetitive
 6    conduct that ‘reasonably appear[s] capable of making a significant contribution to …
 7    maintaining monopoly power.” Microsoft, 253 F.3d at 79 (quoting 3 Phillip E. Areeda &
 8    Herbert Hovenkamp, Antitrust Law ¶ 651c, at 78 (1996 ed.)); accord McWane, 783 F.3d
 9    at 833; United States v. Dentsply Int’l, Inc., 399 F.3d 181, 187 (3d Cir. 2005).
10           33.     Conduct that raises a competitor’s costs or otherwise tends to impair the
11    opportunities of competitors and either does not further competition on the merits or
12    does so in an unnecessarily restrictive way is anticompetitive under the Sherman Act.
13    See Cascade Health Solns. v. PeaceHealth, 515 F.3d 883, 894 (9th Cir. 2008) (citing
14    Aspen Skiing Co. v. Aspen Highlands Skiing Corp., 472 U.S. 585, 605 n. 32 (1985));
15    MTD Order, at 30.
16           34.     Imposing a surcharge that raises the cost of using competitors’ products
17    may be anticompetitive under the Sherman Act. See United Shoe Mach. Corp. v. United
18    States, 258 U.S. 451, 456-57 (1922); Premier Elec. Constr. Co. v. Nat’l Elec.
19    Contractors Ass’n, 814 F.2d 358, 368 (7th Cir. 1987); Caldera, Inc. v. Microsoft Corp.,
20    87 F. Supp. 2d 1244, 1249-50 (D. Utah 1999); MTD order, at 33-35.
21           35.     A firm with market or monopoly power may impair the opportunities of
22    competitors by imposing costs on the competitors’ customers or by imposing costs
23    directly on the competitors themselves. See N. Gregory Mankiw, Principles of
24    Microeconomics 125, 156 (7th ed. 2014).
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 1           36.     Qualcomm’s maintenance of a no license-no chips policy is
 2    anticompetitive conduct.
 3           37.     Qualcomm’s use of incentive funds to induce customers to agree to
 4    patent license terms is anticompetitive conduct.
 5           38.     Through its FRAND commitments to U.S.-based standard-setting
 6    organizations, Qualcomm has a pre-existing contractual duty to make SEP licenses
 7    available on FRAND terms to competing modem chip suppliers. SJ Order, at 25.
 8           39.     By refusing requests for licenses from modem chip suppliers, Qualcomm
 9    has breached its pre-existing contractual duty to make SEP licenses available on
10    FRAND terms to competing modem chip suppliers.
11           40.     Qualcomm’s refusal to make SEP licenses available to competitors in
12    breach of its voluntary commitments to standard-setting organizations is anticompetitive
13    conduct. By failing to comply with its FRAND commitments, it has altered a voluntary
14    course of dealing with anticompetitive malice. See Aspen Skiing Co. v. Aspen Highlands
15    Skiing Corp., 472 U.S. 585, 610 (1985); MetroNet Services Corp. v. Qwest Corp, 383
16    F.3d 1124, 1131 (9th Cir. 2004); MTD Order, at 41.
17           41.     A contract that conditions discounts or rebates on a promise of
18    exclusivity may be analyzed as a de facto exclusive dealing contract if its “practical
19    effect” is “to prevent a … buyer from using the products of a competitor of the …
20    seller.” Tampa Elec. Co. v. Nashville Coal Co., 365 U.S. 320, 326 (1961); ZF Meritor,
21    LLC v. Eaton Corp., 696 F.3d 254, 270 (3d Cir. 2012); Pro Search Plus, LLC v. VFM
22    Leonardo, Inc., 2013 WL 6229141, at *5 (C.D. Cal. Dec. 2, 2013); MTD Order, at 47.
23           42.     Qualcomm’s 2011 and 2013 agreements with Apple are appropriately
24    analyzed as de facto exclusive dealing agreements because their practical effect was to
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 1    prevent Apple from using premium LTE modem chips supplied by Qualcomm’s
 2    competitors.
 3           43.     An express or de facto exclusive dealing contract violates Section 1 of the
 4    Sherman Act when its “‘probable effect’ is to substantially lessen competition in the
 5    relevant market.” ZF Meritor, 696 F.3d at 268-69 (quoting Tampa Elec., 365 U.S. at
 6    327-29); Pro Search Plus, 2013 WL 6229141, at *5.
 7           44.     Whether an exclusive dealing contract has the probable effect of
 8    substantially lessening competition rests on a number of factors, including in particular
 9    whether the contract “foreclose[s] competition in a substantial share” of the relevant
10    market. Courts have generally considered 40% to 50% of the relevant market a
11    “substantial share.” Microsoft, 253 F.3d at 70; MTD Order, at 47.
12           45.     Exclusive dealing by a monopolist may violate Section 2 of the Sherman
13    Act even though the relevant contracts foreclose less than roughly 40% to 50% of the
14    relevant market if those contracts “severely limit … competition for the most important
15    customers” that potential entrants “need[] to gain a foothold for effective competition.”
16    E.I. du Pont de Nemours & Co. v. Kolon Indus., 637 F.3d 435, 452 (4th Cir. 2011);
17    Microsoft, 253 F.3d at 70; MTD Order, at 47.
18           46.     Through its 2011 and 2013 agreements with Apple, Qualcomm engaged
19    in anticompetitive conduct.
20           47.     Qualcomm’s no license-no chips policy, its refusal to make licenses
21    available to competing modem chip suppliers, its use of incentive funds to induce
22    customers to agree to patent license terms, and its exclusive dealing with Apple, taken as
23    a whole, have tended to harm competition and maintain a monopoly in markets for
24    CDMA and premium LTE modem chips.
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 1           48.     Qualcomm has engaged in anticompetitive conduct that reasonably
 2    appears capable of making a significant contribution to maintaining its market and
 3    monopoly power and harming competition in markets for CDMA and premium LTE
 4    modem chips.
 5           49.     Qualcomm’s no license-no chips policy, its refusal to make licenses
 6    available to competing modem chip suppliers, its use of incentive funds to induce
 7    customers to agree to patent license terms, and its exclusive dealing with Apple are
 8    collusive, coercive, predatory, exclusionary, and oppressive in character.
 9           50.     Under Section 1 or Section 2 of the Sherman Act, or Section 5 of the FTC
10    Act, if a plaintiff shows that the restraint or conduct challenged has or reasonably
11    appears capable of having anticompetitive effects, then “the defendant must offer
12    evidence of pro-competitive effects” resulting from the restraint or conduct. Bhan, 929
13    F.2d at 1413; see also Microsoft, 253 F.3d at 59; Polygram Holding, Inc. v. FTC, 416
14    F.3d 29, 36 (D.C. Cir. 2005).
15           51.     Even if a cognizable pro-competitive justification exists, if a plaintiff
16    shows that the restraint or conduct in question is not reasonably necessary to achieve the
17    pro-competitive objective, then the justification does not save the restraint or conduct
18    from condemnation. See Bhan, 929 F.2d at 1413; Phillip E. Areeda & Herbert
19    Hovenkamp, Antitrust Law ¶ 1502, Wolter Kluwer (database updated Sept. 2018).
20           52.     Even if a cognizable pro-competitive justification exists, if
21    anticompetitive effects from the restraint or conduct in question outweigh any
22    procompetitive benefits, then the restraint or conduct is condemned under the antitrust
23    laws. See Bhan, 929 F.2d at 1413; Microsoft, 253 F.3d at 59.
24           53.     Qualcomm’s no license-no chips policy, its refusal to make SEP licenses
25    available to competing modem chip suppliers, its use of incentive funds to induce
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 1    customers to agree to patent license terms, and its exclusive dealing with Apple are not
 2    justified by any pro-competitive efficiency.
 3            54.     Qualcomm’s no license-no chips policy, its refusal to make SEP licenses
 4    available to competing modem chip suppliers, its use of incentive funds to induce
 5    customers to agree to patent license terms, and its exclusive dealing with Apple are not
 6    reasonably necessary to achieve any procompetitive efficiency.
 7            55.     The anticompetitive effects from Qualcomm’s no license-no chips policy,
 8    its refusal to make SEP licenses available to competing modem chip suppliers, its use of
 9    incentive funds to induce customers to agree to patent license terms, and its exclusive
10    dealing with Apple outweigh any putative efficiencies proffered by Qualcomm.
11            56.     Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), authorizes the Court to
12    issue a permanent injunction and other equitable relief. FTC v. Evans Prods. Co., 775
13    F.2d 1084, 1087 (9th Cir. 1985).
14            57.     A permanent injunction is warranted where a defendant’s unlawful
15    conduct is ongoing or there is a “cognizable danger of recurrent violation.” United States
16    v. W.T. Grant Co., 345 U.S. 629, 633 (1953); see also Evans Prods. Co., 775 F.2d at
17    1087.
18            58.     Past unlawful conduct is “highly suggestive of the likelihood of future
19    violations.” CFTC v. Yu, No. 12-CV-3921-YGR, 2012 WL 3283430, at *4 (N.D. Cal.
20    Aug. 10, 2012) (quoting CFTC v. Hunt, 591 F.2d 1211, 1220 (7th Cir. 1979)).
21            59.     Qualcomm’s policies of not supplying chips to customers that do not
22    have a patent license, not making SEP licenses available to competing modem chip
23    suppliers, and its use of incentive funds to induce customers to agree to license terms are
24    ongoing.
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 1           60.     There is a “cognizable danger of recurrent violation.” Qualcomm
 2    engaged in anticompetitive conduct in the past and is well-positioned to engage in
 3    similar conduct in the future.
 4           61.     “The Supreme Court has explained that a remedies decree in an antitrust
 5    case must seek to ‘unfetter a market from anticompetitive conduct,’ to ‘terminate the
 6    illegal monopoly, deny to the defendant the fruits of its statutory violation, and ensure
 7    that there remain no practices likely to result in monopolization in the future.’”
 8    Microsoft, 253 F.3d at 103 (quoting Ford Motor Co., 405 U.S. 562, 577 (1972) and
 9    United States v. United Shoe Mach. Corp., 391 U.S. 244, 250 (1968)).
10           62.     A permanent injunction in a government antitrust case is not limited to “a
11    simple proscription against the precise conduct previously pursued.” Nat’l Soc’y of
12    Prof’l Eng’rs v. United States, 435 U.S. 679, 698 (1978);
13           63.     “[T]hose ‘caught violating’ the FTC Act ‘must expect some fencing in.’”
14    FTC v. Grant Connect, LLC, 763 F.3d 1094, 1105 (9th Cir. 2014) (quoting FTC v. Nat’l
15    Lead Co., 352 U.S. 419, 431 (1957)).
16           64.     In a government antitrust case, “all doubts as to the remedy are to be
17    resolved in [the government’s] favor.” United States v. E.I. du Pont de Nemours & Co.,
18    366 U.S. 316, 334 (1961).
19           65.     A permanent injunction and other equitable relief is necessary and
20    appropriate to remedy the violations of law found to exist in this case.
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 1    Dated: December 6, 2018
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                                                    Respectfully submitted,
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